Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 1 of 122 Page
                                 ID #:22502




                  EXHIBIT E
 Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12       Page 2 of 122 Page
                                         ID #:22503



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11   Attorneys for Plaintiff DC Comics
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                        UNITED STATES DISTRICT COURT
13
                       CENTRAL DISTRICT OF CALIFORNIA
14
     DC COMICS,                                     Case No. CV-10-3633 ODW (RZx)
15
                       Plaintiff,                   DISCOVERY MATTER
16
           v.                                       PLAINTIFF DC COMICS’ FIRST
17                                                  SET OF INTERROGATORIES TO
     PACIFIC PICTURES                               DEFENDANT PACIFIC
18   CORPORATION, IP WORLDWIDE,                     PICTURES CORPORATION
     LLC, IPW, LLC, MARC TOBEROFF,
19   an individual, MARK WARREN                     Judge: Hon. Otis D. Wright II
     PEARY, as personal representative of           Magistrate: Hon. Ralph Zarefsky
20   the ESTATE OF JOSEPH SHUSTER,
     JEAN ADELE PEAVY, an individual,
21   LAURA SIEGEL LARSON, an
     individual and as personal
22   representative of the ESTATE OF
     JOANNE SIEGEL, and DOES 1-10,
23   inclusive,
24                     Defendants.
25
     PROPOUNDING PARTY:                Plaintiff DC Comics
26
     RESPONDING PARTY:                 Defendant Pacific Pictures Corporation
27
     SET NUMBER:                       First (Interrogatory Nos. 1-6)
28
                                                              PL.’S FIRST SET OF INTERROGS.
                                                             TO DEF. PACIFIC PICTURES CORP.

                                         EXHIBIT E
                                           169
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12         Page 3 of 122 Page
                                       ID #:22504



 1           Pursuant to Federal Rule of Civil Procedure 33, plaintiff DC Comics hereby
 2   requests that defendant Pacific Pictures Corporation respond in writing and under
 3   oath to the following First Set of Interrogatories (“Interrogatories”), in accordance
 4   with the definitions and instructions contained herein, by no later than August 1,
 5   2011.
 6                         DEFINITIONS AND INSTRUCTIONS
 7           1.    “COMMUNICATION” means all written, electronic, oral,
 8   telephonic, gesture, or other transmission or exchange of information, including
 9   without limitation any inquiry, request, dialogue, discussion, conversation,
10   interview, correspondence, letter, note, consultation, negotiation, agreement,
11   understanding, meeting, e-mail, and all documents evidencing any verbal or
12   nonverbal interaction between any individuals or entities.
13           2.    “PERSON” means any natural person, firm, association, corporation,
14   partnership, or other legal entity or organization separately identifiable, and any
15   department(s) or division(s) therein.
16           3.    “DESCRIBE” means to set forth fully and in detail all factual
17   information and data that are responsive to the particular request seeking such
18   statement or description.
19           4.    “YOU” or “YOUR” means Pacific Pictures Corporation and, as
20   applicable, any PERSON acting on its behalf, including but not limited to its
21   agents, employees, attorneys, and representatives.
22           5.    “MARKET” means to any effort to promote, arrange, or negotiate
23   the sale, assignment, lease, license, or any other disposition or exploitation of
24   rights or property.
25           6.    “INVESTOR” means any PERSON or entity that provides money or
26   other capital in exchange for rights or property, including but not limited to an
27   investment bank, private equity firm, hedge fund, venture capital firm, mutual
28   fund, motion picture studio, entertainment production company, or individual.
                                                              PL.’S FIRST SET OF INTERROGS.
                                              -1-
                                                             TO DEF. PACIFIC PICTURES CORP.
                                        EXHIBIT E
                                          170
 Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12          Page 4 of 122 Page
                                         ID #:22505



 1         7.    “SUPERMAN” means the Superman character as delineated in
 2   literary works such as comic books, newspapers, novels, radio programs,
 3   television programs, and motion pictures, and any of the works in which he
 4   appears, including but not limited to Action Comics. No. 1.
 5         8.    “SUPERBOY” means the Superboy character as delineated in
 6   literary works such as comic books, newspapers, novels, radio programs,
 7   television programs, and motion pictures, and any of the works in which he
 8   appears, including but not limited to More Fun Comics No. 101.
 9         9.    “IDENTIFY” means the following:
10               a.     When used in reference to a PERSON, it means to state the
11                      person’s full name, present or last known address, and present or
12                      last known business affiliation and business address;
13               b.     When used in reference to an organization, it means to state the
14                      organization’s full name and, if it is a corporation, partnership,
15                      or other business entity, the address of its principal place of
16                      business;
17               c.     When used in reference to a DOCUMENT, it means to state, to
18                      the extent known, the DOCUMENT’S (i) type (i.e. letter, memo,
19                      note, e-mail); (ii) subject matter; (iii) current location; (iv) every
20                      author, recipient or addressee; and (v) the bates number of the
21                      DOCUMENT if simultaneously or previously produced in this
22                      or any related action.
23               d.     When used in reference to a COMMUNICATION, it means to
24                      state, to the extent known, the COMMUNICATION’S (i) date;
25                      (ii) type (i.e. oral, telephonic, e-mail); (iii) subject matter; (iv)
26                      every author, recipient or addressee; and (v) the bates number of
27                      the DOCUMENT if simultaneously or previously produced in
28                      this or any related action.
                                                               PL.’S FIRST SET OF INTERROGS.
                                              -2-
                                                              TO DEF. PACIFIC PICTURES CORP.
                                         EXHIBIT E
                                           171
 Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12           Page 5 of 122 Page
                                      ID #:22506



 1         10.   “INCLUDING” means “including, but not limited to.”
 2         11.   “Any” and “All” are interchangeable.
 3         12.   The singular form includes the plural form, and vice versa.
 4         13.   Each answer must be as complete and straightforward as the
 5   information reasonably available to YOU permits. If an Interrogatory cannot be
 6   answered completely, answer it to the extent possible.
 7         14.   Whenever an Interrogatory may be answered by referring to a
 8   DOCUMENT, the DOCUMENT may be attached as an exhibit to the response
 9   and referred to in the response. If the DOCUMENT has more than one page,
10   refer to the page and section where the answer to the Interrogatory can be found.
11         15.   Federal Rule of Civil Procedure 33 provides these instructions,
12   which YOU must follow when responding to these Interrogatories:
13               a.     Each interrogatory shall be answered separately and fully in
14                      writing under oath, unless it is objected to, in which event the
15                      objecting party shall state the reasons for objection and shall
16                      answer to the extent the interrogatory is not objectionable.
17               b.     The answers are to be signed by the person making them, and
18                      the objections signed by the attorney making them.
19               c.     The party upon whom the interrogatories have been served shall
20                      serve a copy of the answers, and objections if any, within 30
21                      days after the service of the interrogatories.
22               d.     All grounds for an objection to an interrogatory shall be stated
23                      with specificity. Any ground not stated in a timely objection is
24                      waived unless the party’s failure to object is excused by the
25                      court for good cause shown.
26               e.     The party submitting the interrogatories may move for an order
27                      under Rule 37(a) with respect to any objection to or other failure
28                      to answer an interrogatory.
                                                               PL.’S FIRST SET OF INTERROGS.
                                             -3-
                                                              TO DEF. PACIFIC PICTURES CORP.
                                        EXHIBIT E
                                          172
 Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12        Page 6 of 122 Page
                                       ID #:22507



 1         16.    Each Interrogatory shall be construed independently and no
 2   Interrogatory shall be viewed as limiting the scope of any other Interrogatory.
 3         17.    These Interrogatories impose a continuing obligation subsequent to
 4   YOUR initial responses to timely supplement YOUR responses if YOU
 5   determine that any response is incomplete or incorrect.
 6                                INTERROGATORIES
 7   Interrogatory No. 1
 8         DESCRIBE in detail all efforts YOU have made to MARKET any rights
 9   involving SUPERMAN and/or SUPERBOY.
10   Interrogatory No. 2
11         IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
12   connection with efforts to MARKET any rights involving SUPERMAN and/or
13   SUPERBOY.
14   Interrogatory No. 3
15         DESCRIBE in detail when any efforts YOU have made to MARKET any
16   rights involving SUPERMAN and/or SUPERBOY took place.
17   Interrogatory No. 4
18         DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
19   potential INVESTORS concerning rights involving SUPERMAN and/or
20   SUPERBOY.
21   Interrogatory No. 5
22         IDENTIFY any PERSON with whom YOU have COMMUNICATED
23   concerning actual or potential INVESTORS in rights involving SUPERMAN
24   and/or SUPERBOY.
25   Interrogatory No. 6
26         DESCRIBE in detail when YOU have COMMUNICATED with actual or
27   potential INVESTORS concerning rights involving SUPERMAN and/or
28   SUPERBOY.
                                                             PL.’S FIRST SET OF INTERROGS.
                                             -4-
                                                            TO DEF. PACIFIC PICTURES CORP.
                                        EXHIBIT E
                                          173
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12    Page 7 of 122 Page
                                 ID #:22508



 1
 2   Dated: July 1, 2011                 Respectfully submitted,
 3                                       O’MELVENY & MYERS LLP
 4
                                         By: /s/ Daniel M. Petrocelli
 5                                               Daniel M. Petrocelli
 6                                       Attorneys for Plaintiff DC Comics
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                                                     PL.’S FIRST SET OF INTERROGS.
                                      -5-
                                                    TO DEF. PACIFIC PICTURES CORP.
                                 EXHIBIT E
                                   174
 Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12       Page 8 of 122 Page
                                         ID #:22509



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10   Facsimile: (845) 265-2819
11   Attorneys for Plaintiff DC Comics
12
                        UNITED STATES DISTRICT COURT
13
                       CENTRAL DISTRICT OF CALIFORNIA
14
     DC COMICS,                                     Case No. CV-10-3633 ODW (RZx)
15
                       Plaintiff,                   DISCOVERY MATTER
16
           v.                                       PLAINTIFF DC COMICS’ FIRST
17                                                  SET OF INTERROGATORIES TO
     PACIFIC PICTURES                               DEFENDANT IP WORLDWIDE,
18   CORPORATION, IP WORLDWIDE,                     LLC
     LLC, IPW, LLC, MARC TOBEROFF,
19   an individual, MARK WARREN                     Judge: Hon. Otis D. Wright II
     PEARY, as personal representative of           Magistrate: Hon. Ralph Zarefsky
20   the ESTATE OF JOSEPH SHUSTER,
     JEAN ADELE PEAVY, an individual,
21   LAURA SIEGEL LARSON, an
     individual and as personal
22   representative of the ESTATE OF
     JOANNE SIEGEL, and DOES 1-10,
23   inclusive,
24                     Defendants.
25
     PROPOUNDING PARTY:                Plaintiff DC Comics
26
     RESPONDING PARTY:                 Defendant IP Worldwide, LLC
27
     SET NUMBER:                       First (Interrogatory Nos. 1-6)
28
                                                               PL.’S FIRST SET OF INTERROGS.
                                                                 TO DEF. IP WORLDWIDE, LLC

                                         EXHIBIT E
                                           175
 Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12         Page 9 of 122 Page
                                       ID #:22510



 1         Pursuant to Federal Rule of Civil Procedure 33, plaintiff DC Comics hereby
 2   requests that defendant IP Worldwide, LLC respond in writing and under oath to
 3   the following First Set of Interrogatories (“Interrogatories”), in accordance with the
 4   definitions and instructions contained herein, by no later than August 1, 2011.
 5                         DEFINITIONS AND INSTRUCTIONS
 6         1.      “COMMUNICATION” means all written, electronic, oral,
 7   telephonic, gesture, or other transmission or exchange of information, including
 8   without limitation any inquiry, request, dialogue, discussion, conversation,
 9   interview, correspondence, letter, note, consultation, negotiation, agreement,
10   understanding, meeting, e-mail, and all documents evidencing any verbal or
11   nonverbal interaction between any individuals or entities.
12         2.     “PERSON” means any natural person, firm, association, corporation,
13   partnership, or other legal entity or organization separately identifiable, and any
14   department(s) or division(s) therein.
15         3.     “DESCRIBE” means to set forth fully and in detail all factual
16   information and data that are responsive to the particular request seeking such
17   statement or description.
18         4.     “YOU” or “YOUR” means IP Worldwide, LLC and, as applicable,
19   any PERSON acting on its behalf, including but not limited to its agents,
20   employees, attorneys, and representatives.
21         5.     “MARKET” means to any effort to promote, arrange, or negotiate
22   the sale, assignment, lease, license, or any other disposition or exploitation of
23   rights or property.
24         6.     “INVESTOR” means any PERSON or entity that provides money or
25   other capital in exchange for rights or property, including but not limited to an
26   investment bank, private equity firm, hedge fund, venture capital firm, mutual
27   fund, motion picture studio, entertainment production company, or individual.
28
                                                               PL.’S FIRST SET OF INTERROGS.
                                              -1-
                                                                 TO DEF. IP WORLDWIDE, LLC
                                        EXHIBIT E
                                          176
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12            Page 10 of 122 Page
                                      ID #:22511



 1         7.    “SUPERMAN” means the Superman character as delineated in
 2   literary works such as comic books, newspapers, novels, radio programs,
 3   television programs, and motion pictures, and any of the works in which he
 4   appears, including but not limited to Action Comics. No. 1.
 5         8.    “SUPERBOY” means the Superboy character as delineated in
 6   literary works such as comic books, newspapers, novels, radio programs,
 7   television programs, and motion pictures, and any of the works in which he
 8   appears, including but not limited to More Fun Comics No. 101.
 9         9.    “IDENTIFY” means the following:
10               a.     When used in reference to a PERSON, it means to state the
11                      person’s full name, present or last known address, and present or
12                      last known business affiliation and business address;
13               b.     When used in reference to an organization, it means to state the
14                      organization’s full name and, if it is a corporation, partnership,
15                      or other business entity, the address of its principal place of
16                      business;
17               c.     When used in reference to a DOCUMENT, it means to state, to
18                      the extent known, the DOCUMENT’S (i) type (i.e. letter, memo,
19                      note, e-mail); (ii) subject matter; (iii) current location; (iv) every
20                      author, recipient or addressee; and (v) the bates number of the
21                      DOCUMENT if simultaneously or previously produced in this
22                      or any related action.
23               d.     When used in reference to a COMMUNICATION, it means to
24                      state, to the extent known, the COMMUNICATION’S (i) date;
25                      (ii) type (i.e. oral, telephonic, e-mail); (iii) subject matter; (iv)
26                      every author, recipient or addressee; and (v) the bates number of
27                      the DOCUMENT if simultaneously or previously produced in
28                      this or any related action.
                                                                PL.’S FIRST SET OF INTERROGS.
                                              -2-
                                                                  TO DEF. IP WORLDWIDE, LLC
                                         EXHIBIT E
                                           177
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12           Page 11 of 122 Page
                                      ID #:22512



 1         10.   “INCLUDING” means “including, but not limited to.”
 2         11.   “Any” and “All” are interchangeable.
 3         12.   The singular form includes the plural form, and vice versa.
 4         13.   Each answer must be as complete and straightforward as the
 5   information reasonably available to YOU permits. If an Interrogatory cannot be
 6   answered completely, answer it to the extent possible.
 7         14.   Whenever an Interrogatory may be answered by referring to a
 8   DOCUMENT, the DOCUMENT may be attached as an exhibit to the response
 9   and referred to in the response. If the DOCUMENT has more than one page,
10   refer to the page and section where the answer to the Interrogatory can be found.
11         15.   Federal Rule of Civil Procedure 33 provides these instructions,
12   which YOU must follow when responding to these Interrogatories:
13               a.     Each interrogatory shall be answered separately and fully in
14                      writing under oath, unless it is objected to, in which event the
15                      objecting party shall state the reasons for objection and shall
16                      answer to the extent the interrogatory is not objectionable.
17               b.     The answers are to be signed by the person making them, and
18                      the objections signed by the attorney making them.
19               c.     The party upon whom the interrogatories have been served shall
20                      serve a copy of the answers, and objections if any, within 30
21                      days after the service of the interrogatories.
22               d.     All grounds for an objection to an interrogatory shall be stated
23                      with specificity. Any ground not stated in a timely objection is
24                      waived unless the party’s failure to object is excused by the
25                      court for good cause shown.
26               e.     The party submitting the interrogatories may move for an order
27                      under Rule 37(a) with respect to any objection to or other failure
28                      to answer an interrogatory.
                                                              PL.’S FIRST SET OF INTERROGS.
                                             -3-
                                                                TO DEF. IP WORLDWIDE, LLC
                                        EXHIBIT E
                                          178
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12          Page 12 of 122 Page
                                      ID #:22513



 1         16.    Each Interrogatory shall be construed independently and no
 2   Interrogatory shall be viewed as limiting the scope of any other Interrogatory.
 3         17.    These Interrogatories impose a continuing obligation subsequent to
 4   YOUR initial responses to timely supplement YOUR responses if YOU
 5   determine that any response is incomplete or incorrect.
 6                                INTERROGATORIES
 7   Interrogatory No. 1
 8         DESCRIBE in detail all efforts YOU have made to MARKET any rights
 9   involving SUPERMAN and/or SUPERBOY.
10   Interrogatory No. 2
11         IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
12   connection with efforts to MARKET any rights involving SUPERMAN and/or
13   SUPERBOY.
14   Interrogatory No. 3
15         DESCRIBE in detail when any efforts YOU have made to MARKET any
16   rights involving SUPERMAN and/or SUPERBOY took place.
17   Interrogatory No. 4
18         DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
19   potential INVESTORS concerning rights involving SUPERMAN and/or
20   SUPERBOY.
21   Interrogatory No. 5
22         IDENTIFY any PERSON with whom YOU have COMMUNICATED
23   concerning actual or potential INVESTORS in rights involving SUPERMAN
24   and/or SUPERBOY.
25   Interrogatory No. 6
26         DESCRIBE in detail when YOU have COMMUNICATED with actual or
27   potential INVESTORS concerning rights involving SUPERMAN and/or
28   SUPERBOY.
                                                               PL.’S FIRST SET OF INTERROGS.
                                             -4-
                                                                 TO DEF. IP WORLDWIDE, LLC
                                        EXHIBIT E
                                          179
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12     Page 13 of 122 Page
                                 ID #:22514



 1
 2   Dated: July 1, 2011                  Respectfully submitted,
 3                                        O’MELVENY & MYERS LLP
 4
                                          By: /s/ Daniel M. Petrocelli
 5                                                Daniel M. Petrocelli
 6                                        Attorneys for Plaintiff DC Comics
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                                                       PL.’S FIRST SET OF INTERROGS.
                                       -5-
                                                         TO DEF. IP WORLDWIDE, LLC
                                 EXHIBIT E
                                   180
Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12         Page 14 of 122 Page
                                     ID #:22515



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10   Facsimile: (845) 265-2819
11   Attorneys for Plaintiff DC Comics
12
                        UNITED STATES DISTRICT COURT
13
                       CENTRAL DISTRICT OF CALIFORNIA
14
     DC COMICS,                                   Case No. CV-10-3633 ODW (RZx)
15
                       Plaintiff,                 DISCOVERY MATTER
16
           v.                                     PLAINTIFF DC COMICS’ FIRST
17                                                SET OF INTERROGATORIES TO
     PACIFIC PICTURES                             DEFENDANT IPW, LLC
18   CORPORATION, IP WORLDWIDE,
     LLC, IPW, LLC, MARC TOBEROFF,                Judge: Hon. Otis D. Wright II
19   an individual, MARK WARREN                   Magistrate: Hon. Ralph Zarefsky
     PEARY, as personal representative of
20   the ESTATE OF JOSEPH SHUSTER,
     JEAN ADELE PEAVY, an individual,
21   LAURA SIEGEL LARSON, an
     individual and as personal
22   representative of the ESTATE OF
     JOANNE SIEGEL, and DOES 1-10,
23   inclusive,
24                     Defendants.
25
     PROPOUNDING PARTY:              Plaintiff DC Comics
26
     RESPONDING PARTY:               Defendant IPW, LLC
27
     SET NUMBER:                     First (Interrogatory Nos. 1-6)
28
                                                                       PL.’S FIRST SET OF
                                                              INTERROGS. TO DEF. IPW, LLC

                                       EXHIBIT E
                                         181
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12         Page 15 of 122 Page
                                      ID #:22516



 1         Pursuant to Federal Rule of Civil Procedure 33, plaintiff DC Comics hereby
 2   requests that defendant IPW, LLC respond in writing and under oath to the
 3   following First Set of Interrogatories (“Interrogatories”), in accordance with the
 4   definitions and instructions contained herein, by no later than August 1, 2011.
 5                         DEFINITIONS AND INSTRUCTIONS
 6         1.      “COMMUNICATION” means all written, electronic, oral,
 7   telephonic, gesture, or other transmission or exchange of information, including
 8   without limitation any inquiry, request, dialogue, discussion, conversation,
 9   interview, correspondence, letter, note, consultation, negotiation, agreement,
10   understanding, meeting, e-mail, and all documents evidencing any verbal or
11   nonverbal interaction between any individuals or entities.
12         2.     “PERSON” means any natural person, firm, association, corporation,
13   partnership, or other legal entity or organization separately identifiable, and any
14   department(s) or division(s) therein.
15         3.     “DESCRIBE” means to set forth fully and in detail all factual
16   information and data that are responsive to the particular request seeking such
17   statement or description.
18         4.     “YOU” or “YOUR” means IPW, LLC and, as applicable, any
19   PERSON acting on its behalf, including but not limited to its agents, employees,
20   attorneys, and representatives.
21         5.     “MARKET” means to any effort to promote, arrange, or negotiate
22   the sale, assignment, lease, license, or any other disposition or exploitation of
23   rights or property.
24         6.     “INVESTOR” means any PERSON or entity that provides money or
25   other capital in exchange for rights or property, including but not limited to an
26   investment bank, private equity firm, hedge fund, venture capital firm, mutual
27   fund, motion picture studio, entertainment production company, or individual.
28
                                                                         PL.’S FIRST SET OF
                                              -1-
                                                                INTERROGS. TO DEF. IPW, LLC
                                        EXHIBIT E
                                          182
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12            Page 16 of 122 Page
                                      ID #:22517



 1         7.    “SUPERMAN” means the Superman character as delineated in
 2   literary works such as comic books, newspapers, novels, radio programs,
 3   television programs, and motion pictures, and any of the works in which he
 4   appears, including but not limited to Action Comics. No. 1.
 5         8.    “SUPERBOY” means the Superboy character as delineated in
 6   literary works such as comic books, newspapers, novels, radio programs,
 7   television programs, and motion pictures, and any of the works in which he
 8   appears, including but not limited to More Fun Comics No. 101.
 9         9.    “IDENTIFY” means the following:
10               a.     When used in reference to a PERSON, it means to state the
11                      person’s full name, present or last known address, and present or
12                      last known business affiliation and business address;
13               b.     When used in reference to an organization, it means to state the
14                      organization’s full name and, if it is a corporation, partnership,
15                      or other business entity, the address of its principal place of
16                      business;
17               c.     When used in reference to a DOCUMENT, it means to state, to
18                      the extent known, the DOCUMENT’S (i) type (i.e. letter, memo,
19                      note, e-mail); (ii) subject matter; (iii) current location; (iv) every
20                      author, recipient or addressee; and (v) the bates number of the
21                      DOCUMENT if simultaneously or previously produced in this
22                      or any related action.
23               d.     When used in reference to a COMMUNICATION, it means to
24                      state, to the extent known, the COMMUNICATION’S (i) date;
25                      (ii) type (i.e. oral, telephonic, e-mail); (iii) subject matter; (iv)
26                      every author, recipient or addressee; and (v) the bates number of
27                      the DOCUMENT if simultaneously or previously produced in
28                      this or any related action.
                                                                           PL.’S FIRST SET OF
                                              -2-
                                                                  INTERROGS. TO DEF. IPW, LLC
                                         EXHIBIT E
                                           183
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12           Page 17 of 122 Page
                                      ID #:22518



 1         10.   “INCLUDING” means “including, but not limited to.”
 2         11.   “Any” and “All” are interchangeable.
 3         12.   The singular form includes the plural form, and vice versa.
 4         13.   Each answer must be as complete and straightforward as the
 5   information reasonably available to YOU permits. If an Interrogatory cannot be
 6   answered completely, answer it to the extent possible.
 7         14.   Whenever an Interrogatory may be answered by referring to a
 8   DOCUMENT, the DOCUMENT may be attached as an exhibit to the response
 9   and referred to in the response. If the DOCUMENT has more than one page,
10   refer to the page and section where the answer to the Interrogatory can be found.
11         15.   Federal Rule of Civil Procedure 33 provides these instructions,
12   which YOU must follow when responding to these Interrogatories:
13               a.     Each interrogatory shall be answered separately and fully in
14                      writing under oath, unless it is objected to, in which event the
15                      objecting party shall state the reasons for objection and shall
16                      answer to the extent the interrogatory is not objectionable.
17               b.     The answers are to be signed by the person making them, and
18                      the objections signed by the attorney making them.
19               c.     The party upon whom the interrogatories have been served shall
20                      serve a copy of the answers, and objections if any, within 30
21                      days after the service of the interrogatories.
22               d.     All grounds for an objection to an interrogatory shall be stated
23                      with specificity. Any ground not stated in a timely objection is
24                      waived unless the party’s failure to object is excused by the
25                      court for good cause shown.
26               e.     The party submitting the interrogatories may move for an order
27                      under Rule 37(a) with respect to any objection to or other failure
28                      to answer an interrogatory.
                                                                         PL.’S FIRST SET OF
                                             -3-
                                                                INTERROGS. TO DEF. IPW, LLC
                                        EXHIBIT E
                                          184
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12         Page 18 of 122 Page
                                      ID #:22519



 1         16.    Each Interrogatory shall be construed independently and no
 2   Interrogatory shall be viewed as limiting the scope of any other Interrogatory.
 3         17.    These Interrogatories impose a continuing obligation subsequent to
 4   YOUR initial responses to timely supplement YOUR responses if YOU
 5   determine that any response is incomplete or incorrect.
 6                                INTERROGATORIES
 7   Interrogatory No. 1
 8         DESCRIBE in detail all efforts YOU have made to MARKET any rights
 9   involving SUPERMAN and/or SUPERBOY.
10   Interrogatory No. 2
11         IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
12   connection with efforts to MARKET any rights involving SUPERMAN and/or
13   SUPERBOY.
14   Interrogatory No. 3
15         DESCRIBE in detail when any efforts YOU have made to MARKET any
16   rights involving SUPERMAN and/or SUPERBOY took place.
17   Interrogatory No. 4
18         DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
19   potential INVESTORS concerning rights involving SUPERMAN and/or
20   SUPERBOY.
21   Interrogatory No. 5
22         IDENTIFY any PERSON with whom YOU have COMMUNICATED
23   concerning actual or potential INVESTORS in rights involving SUPERMAN
24   and/or SUPERBOY.
25   Interrogatory No. 6
26         DESCRIBE in detail when YOU have COMMUNICATED with actual or
27   potential INVESTORS concerning rights involving SUPERMAN and/or
28   SUPERBOY.
                                                                        PL.’S FIRST SET OF
                                             -4-
                                                               INTERROGS. TO DEF. IPW, LLC
                                        EXHIBIT E
                                          185
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12     Page 19 of 122 Page
                                 ID #:22520



 1
 2   Dated: July 1, 2011                  Respectfully submitted,
 3                                        O’MELVENY & MYERS LLP
 4
                                          By: /s/ Daniel M. Petrocelli
 5                                                Daniel M. Petrocelli
 6                                        Attorneys for Plaintiff DC Comics
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                                                                 PL.’S FIRST SET OF
                                       -5-
                                                        INTERROGS. TO DEF. IPW, LLC
                                 EXHIBIT E
                                   186
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 20 of 122 Page
                                 ID #:22521




                   EXHIBIT F
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 21 of 122 Page
                                         ID #:22522




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                                                                                       OUR FILE NUMBER
  July 7, 2011                                                                              905,900-321

  VIA E-MAIL                                                                        WRITER’S DIRECT DIAL
                                                                                         (310) 246-6840
  Marc Toberoff
                                                                                 WRITER’S E-MAIL ADDRESS
  Toberoff & Associates, P.C.
                                                                                  mkline@omm.com
  2049 Century Park East, Suite 3630
  Los Angeles, California 90067

  Laura Brill
  Kendall Brill & Klieger LLP
  10100 Santa Monica Boulevard, Suite 1725
  Los Angeles, California 90067

                  Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

        We write to follow up on our meet-and-confer discussions with Messrs. Toberoff and
  Adams concerning DC Comics’ narrowed document requests.

          DC served its document requests on Mr. Toberoff, Pacific Pictures Corporation, IP
  Worldwide, LLC, and IPW, LLC on December 10, 2010. Defendants’ January 24, 2011,
  objections and April 11, 2011, opposition to DC’s motion to compel asserted that the parties
  should meet and confer in an effort to narrow DC’s requests. Magistrate Zarefsky’s May 25,
  2011, order instructed the parties to endeavor “to resolve the dispute short of court action,”
  pursuant to Local Rule 37-2.1. To this end, DC sent defendants a lengthy letter on June 1, 2011,
  that narrowed and clarified its December 2010 document requests to take into account
  defendants’ objections.

          Defendants’ June 13, 2011, letter merely asserted blanket objections and did not
  specifically respond to any of DC’s revised document requests. During our meet-and-confer call
  later that day, Mr. Toberoff declined meaningfully to engage in the compromise process or
  propose alternative formulations for DC’s document requests, saying, “No, that’s not my job.”
  While Messrs. Toberoff and Adams initially agreed to respond to DC’s June 1 discovery requests
  by July 5 in accordance with Federal Rule 34, they later asserted that DC failed to adequately
  “accept” this agreement and refused to respond until July 15. We disagreed with defendants’
  characterization but, in the interest of compromise, agreed to send the following letter by July 7



                                            EXHIBIT F
                                              187
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 22 of 122 Page
                                         ID #:22523


  July 7, 2011 - Page 2



  provided defendants agreed to provide responsive documents by July 15 rather than asserting
  blanket objections as they had in the past. Defendants declined to commit to producing any
  documents on July 15, stating only that DC “is welcome to properly serve its new document
  requests pursuant to the Rules and defendants will duly respond pursuant to the Rules.”
  Defendants’ refusal meaningfully to participate in the meet-and-confer process they themselves
  proposed—which appears calculated to improperly delay discovery until after the August 8,
  2011, deadline set by Judge Wright for DC to submit new oppositions to defendants’ Rule 12
  and SLAPP motions—is inconsistent with the Court’s May 25 order and admonishment to
  counsel not “to be obstructive.” Docket No. 74.

          In a final effort to avoid unnecessary motion practice, we have attempted below to
  crystallize the parties’ respective positions on DC’s revised document requests and, in some
  cases, to narrow the requests even further. Note that in many instances, it was difficult to
  determine defendants’ position based on the blanket nature of the objections asserted in their
  June 13 letter and reiterated during the meet-and-confer call that day.

  PART I

          Many of defendants’ objections are based solely on their position that the term
  “RELATING” in DC’s requests is “very broadly defined” and “render[s] such requests
  overbroad.” We disagree, but in an effort to compromise, will adopt a modified version of the
  definition used in defendants’ June 13 letter: to “refer to or bear on.”

         Defendants also rely on general objections that DC’s requests are overbroad,
  burdensome, and irrelevant. The narrowed scope and any relevance objections are addressed
  individually below.

         As to the three categories of objections identified in defendants’ June 13 letter, DC
  responds:

          Objection Category A. Defendants contend that these requests1 merely repeat requests
  rejected by Magistrate Zarefsky as overbroad. However, DC modified each of these requests by
  replacing the “RELATING” language to which defendants objected with narrower language
  making clear that DC seeks documents “identifying” the information sought, not “everything
  there is about companies with which Mr. Toberoff has been associated.”

         On the June 13 call, although DC had already narrowed its requests, we asked for
  defendants’ counterproposals regarding this category of documents. Mr. Toberoff refused to
  provide any.




      1
      Toberoff Request Nos. 56-58; PPC Request Nos. 31, 33; IPWW Request Nos. 32-34; IPW
  Request Nos. 27, 29.



                                            EXHIBIT F
                                              188
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 23 of 122 Page
                                         ID #:22524


  July 7, 2011 - Page 3



          Objection Category B. Requests placed in this category2 break down into two groups.
  First, Toberoff Request Nos. 27 and 28 were misquoted by defendants in their initial objections.
  Even after we pointed this out in our June 1 letter and on the June 13 call, defendants stated in
  their June 14 letter that their “responses, including the objections, stand,” despite the much
  narrower scope of the actual requests compared to those misquoted by defendants.

          The second group includes requests reasserted by DC because they were formulated in
  the same manner as Toberoff Request No. 34, to which defendants originally agreed to produce
  responsive documents. On the June 13 call, Mr. Toberoff and Mr. Adams contended that
  Toberoff Request No. 34, which relates to the 2001 Pacific Pictures agreement, was more limited
  than requests related to other agreements because that 2001 agreement was subsequently
  amended and canceled. After we pointed out that the same logic should apply to DC’s requests
  concerning the 2003 Pacific Pictures agreement (Toberoff Request No. 40) and 2002 IP
  Worldwide agreement (Toberoff Request No. 52), Mr. Adams and Mr. Toberoff abandoned this
  rationale in their June 14 letter, stating that the original response to Toberoff Request No. 34
  should not have agreed to produce documents.

          In any event, defendants now assert that, assuming the parties agree to a definition of
  “RELATING,” defendants have produced all “non-privileged responsive documents sought by
  these requests.” Pursuant to the proposal regarding the definition of “RELATING” noted above,
  DC is entitled to a clear statement that defendants have searched their files for all documents in
  the requests listed in Objection Category B, and that no such documents exist that have not been
  previously produced. See Ibanez v. Miller, 2009 WL 1706665, at *4 (E.D. Cal. June 17, 2009)
  (ordering verification that all responsive documents had been produced since defendants
  produced no responsive documents); Vieste, LLC v. Hill Redwood Dev., 2011 WL 2181200, at
  *8 (N.D. Cal. June 3, 2011) (noting previous order to verify that all responsive documents had
  been produced and imposing evidentiary sanctions for untimely production); Rodriguez v.
  Niagara Cleaning Servs., Inc., 2010 WL 1655519, at *2-3 (S.D. Fla. Apr. 23, 2010) (ordering
  verification that all responsive documents had been produced because particulars of search for
  documents were not provided). To the extent they are not moot, any remaining relevance
  objections are addressed individually below.

         Objection Category C. Defendants object generally that these requests3 propound “new
  discovery.” But each of the requests in this category are narrowed versions of DC’s prior
  requests that take into account defendants’ objections.4 In any event, defendants have treated all

      2
        Toberoff Request Nos. 27-28, 40-41, 44, 52; PPC Request Nos. 24, 27-28; IPWW Request
  Nos. 24, 27.
      3
        Toberoff Request Nos. 5, 9, 12-15, 18, 29-32, 42, 46, 48, 53-54; PPC Request Nos. 5, 15,
  19, 23, 25, 29-30; IPWW Request Nos. 5, 15, 18, 25, 28-30; IPW Request Nos. 24-26.
      4
        E.g., Toberoff Request No. 5 (limiting request for all documents related to Superman and/or
  Superboy to those documents related to the Siegel Heirs’ or Shuster Heirs’ interest in those
  characters); PPC Request No. 19 (requesting documents related only to company’s “introduction
  to” Shuster Heirs, not “involvement with” them); IPWW Request No. 30 (limiting request to



                                            EXHIBIT F
                                              189
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 24 of 122 Page
                                         ID #:22525


  July 7, 2011 - Page 4



  of DC’s narrowed and reformulated requests as “new discovery”—unilaterally giving themselves
  30 days to respond to DC’s narrowed requests before (a) informing DC of defendants’ objections
  and responses to the requests, or (b) much less producing any documents.

  Requests for Production to Defendant Marc Toberoff

  Request No. 5

      x   Original: All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.

      x   Proposed 5(a): All DOCUMENTS RELATING to any interest the SIEGEL HEIRS’
          claim in SUPERMAN and/or SUPERBOY.

      x   Proposed 5(b): All DOCUMENTS RELATING to any interest the SHUSTER HEIRS’
          claim in SUPERMAN and/or SUPERBOY.

          Defendants place these requests in Objection Category C. This request has been
  narrowed to make clear that DC seeks documents relating to the Siegel and Shuster heirs’
  interest in Superman and Superboy, not all documents relating to those characters. Such
  documents are clearly relevant to DC’s claims, which, inter alia, concern the Shusters’ effort to
  recapture Superman rights and misconduct in connection with the Siegels’ attempt to recapture
  Superman and Superboy rights.

  Request No. 9

      x   Original: All DOCUMENTS RELATING to any of the DEFENDANTS OBTAINED by
          YOU prior to YOUR initial contact with any of them.

      x   Proposed 9(a): All DOCUMENTS RELATING to the SIEGEL HEIRS OBTAINED by
          YOU prior to YOUR initial contact with each of them.

      x   Proposed 9(b): All DOCUMENTS RELATING to the SHUSTER HEIRS OBTAINED
          by YOU prior to YOUR initial contact with each of them.

          Defendants place these requests in Objection Category C. This request has been
  narrowed to make clear that DC seeks documents relating to the Siegel and Shuster heirs only,
  not all defendants, and may include news articles, correspondence, draft filings, or numerous
  other documents. Such documents are clearly relevant to DC’s claims involving, inter alia, acts
  of interference by Mr. Toberoff and his companies. Moreover, the relationship between the
  Toberoff defendants and the Siegel and Shuster heirs is a key factual issue that must be resolved
  before defendants’ Rule 12 and SLAPP motions can be adjudicated, and DC is entitled to
  discovery relating to that question. Mr. Toberoff has stated in deposition that he followed via the

  documents “identifying” the current corporate status of IP Worldwide and removing reference to
  “RELATING,” to which defendants have objected).



                                            EXHIBIT F
                                              190
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 25 of 122 Page
                                          ID #:22526


  July 7, 2011 - Page 5



  internet the progress of the Siegel heirs’ termination efforts, and these requests seek any similar
  documents relating to the Siegel heirs and/or Shuster heirs.

  Request No. 12

      x   Original: All DOCUMENTS RELATING to or affecting the disposition, division, or
          ownership of any rights in SUPERMAN and/or SUPERBOY.

      x   Proposed: All DOCUMENTS created during or since 1997 RELATING to or affecting
          the disposition, division, or ownership of any rights in SUPERMAN and/or SUPERBOY.

          Defendants place this request in Objection Category C. This request has narrowed the
  timeframe of documents sought. DC is not seeking pursuant to this request Jerry Siegel or Joe
  Shuster’s agreements with DC or its predecessors, but only the named defendants’ documents,
  which may include agreements, drafts of agreements, correspondence evidencing negotiations, or
  numerous other documents. Mark Peary admitted at his June 29 deposition, for example, that
  “[t]here were drafts” of the 2001 agreement he signed with Pacific Pictures Corporation. Peary
  Dep. Tr. 99:6-10. Such documents are clearly relevant to DC’s Third and Sixth claims, which
  relate to, inter alia, unlawful consent agreements and attempts to transfer the Siegel heirs’ and/or
  Shuster heirs’ interests before the date allowed by the Copyright Act. They are also relevant to
  DC’s First claim, which, inter alia, seeks to determine the validity of the Shuster heirs’
  termination effort and alleges, in part, that their termination fails because they lacked the
  necessary majority interest to terminate due to the Shuster heirs’ transfer of 50% of their
  purported Superman rights to Pacific Pictures. Regardless of defendants’ current position on this
  issue, DC seeks any documents relating to it. Moreover, the extent to which Mr. Toberoff and/or
  his companies have an interest in the heirs’ rights is a factual issue that must be resolved before
  defendants’ Rule 12 and SLAPP motions can be adjudicated.

  Request No. 13

      x   Original: All DOCUMENTS RELATING to or affecting the division of revenue,
          proceeds, or other profits regarding SUPERMAN and/or SUPERBOY.

      x   Proposed: All DOCUMENTS created during or since 1997 RELATING to or affecting
          the division of revenue, proceeds, or other profits regarding SUPERMAN and/or
          SUPERBOY.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 12.

  Request No. 14

      x   Original: All DOCUMENTS RELATING to or affecting the division of any settlement
          proceeds regarding SUPERMAN and/or SUPERBOY.



                                             EXHIBIT F
                                               191
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12               Page 26 of 122 Page
                                          ID #:22527


  July 7, 2011 - Page 6



      x   Proposed: All DOCUMENTS created during or since 1997 RELATING to or affecting
          the division of any settlement proceeds regarding SUPERMAN and/or SUPERBOY.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 12.

  Request No. 15

      x   Original: All DOCUMENTS RELATING to the potential sale, assignment, license, or
          other disposition of any rights RELATING to SUPERMAN and/or SUPERBOY,
          including but not limited to any solicitation, offer, option, or proposed agreement.

      x   Proposed: All DOCUMENTS created during or since 1997 RELATING to the potential
          sale, assignment, license, or other disposition of any rights RELATING to SUPERMAN
          and/or SUPERBOY, including but not limited to any solicitation, offer, option, or
          proposed agreement.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 12.

  Request No. 18

      x   Original: All DOCUMENTS RELATING to the valuation of any past, current, or
          potential ownership interest in SUPERMAN and/or SUPERBOY.

      x   Proposed: All DOCUMENTS created during or since 1995 RELATING to the valuation
          of any past, current, or potential ownership interest in SUPERMAN and/or SUPERBOY.

          Defendants place this request in Objection Category C. This request has narrowed the
  timeframe for documents sought. DC seeks any documents relating to valuations by defendants,
  their counsel, or agents to valuate Superman as a property or defendants’ purported Superman
  interest, and may include reports from accountants or other experts, correspondence seeking such
  reports, or numerous other documents. Such documents are clearly relevant to DC’s Second
  claim, which, inter alia, relates to the scope of rights subject to recapture by the Shuster heirs, if
  any. They also potentially relate to determining the role Mr. Toberoff and his companies have
  played in representing the Siegel heirs and Shuster heirs, which is a key factual issue yet to be
  determined in this case.

  Request No. 27

      x   Original: All DOCUMENTS RELATING to YOUR introduction to the SIEGEL HEIRS.




                                             EXHIBIT F
                                               192
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 27 of 122 Page
                                         ID #:22528


  July 7, 2011 - Page 7



           Defendants place this request in Objection Category B. This request relates only to Mr.
  Toberoff’s introduction to the Siegel heirs, not the broader “involvement with” them quoted by
  defendants. These documents may include phone records, calendar logs, correspondence setting
  up meetings, or numerous other documents. Such documents are clearly relevant to DC’s Fifth
  claim, which, inter alia, relates to Mr. Toberoff’s and his companies’ interference with DC’s
  rights with relation to the Siegel heirs while DC and the Siegel heirs were negotiating a global
  settlement of the Siegel heirs’ claims. They are also relevant to DC’s Sixth claim, which, inter
  alia, relates to improper agreements defendants entered into prohibiting them from dealing with
  DC. Defendants have also asserted that Mr. Toberoff acted as the Siegel heirs’ lawyer from the
  outset of their relationship, while the only agreement under which they operated at that time was
  through IP Worldwide, which is not a law firm. The nature of this relationship is a factual issue
  that must be explored through discovery before defendants’ Rule 12 and SLAPP motions can be
  adjudicated.

  Request No. 28

      x   Original: All DOCUMENTS RELATING to YOUR introduction to the SHUSTER
          HEIRS.

          Defendants place this request in Objection Category B. This request relates only to
  Mr. Toberoff’s introduction to the Shuster heirs, not the broader “involvement with” them
  quoted by defendants. These documents may include phone records, calendar logs,
  correspondence setting up meetings, or numerous other documents. Such documents are clearly
  relevant to DC’s First and Second claims, which, inter alia, seek declaratory relief regarding the
  validity and scope of the Shuster heirs’ termination efforts. They are also relevant to DC’s
  Third, Fourth, and Sixth claims, all of which relate to, inter alia, efforts by Mr. Toberoff to
  market the Shuster heirs’ purported Superman rights and agreements entered into for that
  purpose. Defendants have also asserted that Mr. Toberoff acted as the Shuster heirs’ lawyer
  from the outset of their relationship, while the only agreement under which they operated at that
  time was through Pacific Pictures, which is not a law firm. The nature of this relationship is a
  factual issue that must be explored through discovery before defendants’ Rule 12 and SLAPP
  motions can be adjudicated.

  Request No. 29

      x   Original: All DOCUMENTS RELATING to the transfer of any property or interest
          between or among YOU and any DEFENDANT.

      x   Proposed: All DOCUMENTS RELATING to the transfer of any property or interest in
          SUPERMAN and/or SUPERBOY between or among YOU and any DEFENDANT.

          Defendants place this request in Objection Category C. This request has been narrowed
  to make clear that it relates only to interests in Superman and/or Superboy, not unrelated
  transfers between or among Mr. Toberoff and his companies. These documents may include
  agreements, drafts of agreements, correspondence evidencing negotiations, or numerous other



                                            EXHIBIT F
                                              193
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 28 of 122 Page
                                          ID #:22529


  July 7, 2011 - Page 8



  documents. Such documents are relevant to the same claims and for the same reasons as
  described in Toberoff Request No. 12.

  Request No. 30

      x   Original: All COMMUNICATIONS RELATING to any disclosure of a potential or
          actual conflict of interest by or to YOU or any DEFENDANT.

      x   Proposed: All COMMUNICATIONS RELATING to any disclosure of a potential or
          actual conflict of interest by or to YOU, the SIEGEL HEIRS, or SHUSTER HEIRS.

          Defendants place this request in Objection Category C. This request has been narrowed
  to make clear that it relates only to disclosures among Mr. Toberoff, the Siegel heirs, and Shuster
  heirs, not all defendants. Such documents are clearly relevant to DC’s Fourth and Fifth claims,
  which, inter alia, relate to acts of interference with DC’s rights by Mr. Toberoff and his
  companies. Those claims also implicate the nature of Mr. Toberoff’s relationship with the Siegel
  heirs and Shuster heirs. The requested documents are also relevant to DC’s First claim, which,
  inter alia, seeks to determine the validity of the Shuster heirs’ termination effort and alleges, in
  part, that their termination fails because of improper dealings related to Superboy that benefited
  the Siegel heirs to the detriment of the Shuster heirs and DC. And while Mr. Toberoff
  mentioned during the June 13 call that he was not sure whether the Siegel heirs or Shuster heirs
  had outside counsel advising them before entering into agreements with Mr. Toberoff and his
  companies, California law requires that an attorney inform in writing one with whom he is
  entering into a business transaction of conflicts and give that person the opportunity to seek
  independent counsel.

  Request No. 31

      x   Original: All DOCUMENTS RELATING to any waiver or acknowledgement of a
          potential or actual conflict of interest by or to YOU or any DEFENDANT.

      x   Proposed: All DOCUMENTS RELATING to any waiver or acknowledgement of a
          potential or actual conflict of interest by or to YOU, the SIEGEL HEIRS, or SHUSTER
          HEIRS.

          Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 30. Mr. Peary admitted at his June 29 deposition, for example, that he, the Siegel
  heirs, and Mr. Toberoff all signed a conflict of interest waiver in 2010, yet none has been
  produced. Defendants may claim that this document is listed on a privilege log, but DC cannot
  locate such a document—one more example of how the opacity of defendants’ privilege logs
  prevents DC or the Court from assessing defendants’ assertions of privilege. In any event, these
  documents are not privileged and should be produced immediately. See E. Maine Baptist
  Church v. Regions Bank, 2007 WL 1445257, at *2-3 (E.D. Mo. May 10, 2007) (“The production
  of conflict memoranda, new matter forms, and correspondence regarding conflicts is not



                                            EXHIBIT F
                                              194
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 29 of 122 Page
                                          ID #:22530


  July 7, 2011 - Page 9



  protected by the attorney-client privilege or work product doctrine.”); Chevron USA Inc. v.
  Peuler, 2004 WL 224579, at *3 (E.D. La. Feb. 3, 2004) (ordering production of conflict of
  interest waiver).

  Request No. 32

      x   Original: All DOCUMENTS RELATING to any past, current, or planned partnership or
          strategic alliance between YOU and any individual entity RELATING to any
          DEFENDANT.

      x   Proposed: All DOCUMENTS created during or since 2000 RELATING to any past,
          current, or planned partnership or strategic alliance between YOU and any individual or
          entity RELATING to any purported interest in SUPERMAN and/or SUPERBOY.

          Defendants place this request in Objection Category C. This request has narrowed the
  timeframe of documents sought and now makes clear that it seeks only documents relating to
  Superman and/or Superboy, not all alliances by Mr. Toberoff, and may include agreements,
  drafts of agreements, correspondence discussing potentially-aligned business interest, or
  numerous other documents. Such documents are clearly relevant to DC’s Third and Sixth
  claims, which, inter alia, relate to unlawful consent agreements and attempts to transfer the
  Siegel heirs’ and/or Shuster heirs’ interests before the date allowed by the Copyright Act. They
  are also relevant to DC’s Second claim, which, inter alia, relates to the scope of rights subject to
  recapture by the Shuster heirs, if any. Any partnerships or strategic alliances, actual or potential,
  are therefore relevant to potential discussions regarding the value of the heirs’ rights.
  Additionally, Mr. Toberoff has made representations regarding his efforts to market the heirs’
  rights, and DC is entitled to investigate them through the discovery process.

  Request No. 40

      x   Original: All DOCUMENTS RELATING to the letter agreement dated October 27, 2003
          that YOU signed with the SHUSTER HEIRS.

          Defendants place this request in Objection Category B. Documents sought by this
  request, including drafts of agreements, correspondence evidencing negotiations, correspondence
  stating the purpose for the document described, amending agreements or correspondence, or
  numerous other documents, are clearly relevant to DC’s First and Second claims, which, inter
  alia, seek declaratory relief regarding the validity and scope of the Shuster heirs’ termination
  efforts as well as DC’s interference claims. The documents sought are, in addition, relevant to
  DC’s Third, Fourth, and Sixth claims, all of which relate to, acts of interference by Mr. Toberoff
  (the businessman) and his companies, as well as efforts by the defendants to market the Shuster
  heirs’ purported Superman rights and any negotiations or agreements entered into for that
  purpose. Defendants have also asserted that Mr. Toberoff acted as the Shuster heirs’ lawyer
  from the outset of their relationship, while the October 27, 2003, agreement makes clear that
  Pacific Pictures is not a law firm. The nature of this relationship—and defendants’ claims




                                             EXHIBIT F
                                               195
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 30 of 122 Page
                                         ID #:22531


  July 7, 2011 - Page 10



  regarding it—are factual issues that must be explored through discovery before defendants’ Rule
  12 and SLAPP motions can be adjudicated.

  Request No. 41

      x   Original: All DOCUMENTS RELATING to the letter dated September 10, 2004 that
          YOU signed with the SHUSTER HEIRS.

        Defendants place this request in Objection Category B. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 40.

  Request No. 42

      x   Original: All DOCUMENTS RELATING to any COMMUNICATION between YOU
          and Kevin Marks.

      x   Proposed 42(a): All DOCUMENTS RELATING to any COMMUNICATION between
          YOU and Kevin Marks RELATING to the SIEGEL HEIRS.

      x   Proposed 42(b): All DOCUMENTS RELATING to any COMMUNICATION between
          YOU and Kevin Marks RELATING to the SHUSTER HEIRS.

          Defendants place these requests in Objection Category C. These requests now make
  clear that they seek only documents relating to communications regarding the Siegel heirs and/or
  Shuster heirs, not all communications Mr. Toberoff may have had with Mr. Marks, and may
  include phone records, calendar logs, correspondence setting up meetings, communicated offers,
  drafts of agreements, or numerous other documents. Such documents are clearly relevant to
  DC’s Fifth claim, which, inter alia, relates to interference with DC’s rights with relation to the
  Siegel heirs while they were represented by Mr. Marks. Regardless of defendants’ position on
  the trustworthiness of the Toberoff Timeline, the Court has repeatedly held that DC has the right
  to take discovery related to the Timeline, which describes conversations between Mr. Toberoff
  and Mr. Marks. And Mr. Toberoff has described at deposition other conversations he had with
  Mr. Marks related to the Siegel heirs, all of which DC has the right to investigate.

  Request No. 44

      x   Original: All DOCUMENTS RELATING to the letter dated August 9, 2002 from Kevin
          Marks to Joanne and/or Laura Siegel.

         Defendants place this request in Objection Category B. Documents sought by this
  request, including phone records, calendar logs, correspondence evidencing negotiations,
  communicated offers, drafts of agreements, or numerous other documents, are clearly relevant to
  DC’s Fifth claim, which, inter alia, relates to interference with DC’s rights with relation to the
  Siegel heirs while they were represented by Mr. Marks. Regardless of defendants’ position on



                                            EXHIBIT F
                                              196
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 31 of 122 Page
                                          ID #:22532


  July 7, 2011 - Page 11



  the trustworthiness of the Toberoff Timeline, the Court has repeatedly held that DC has the right
  to take discovery related to the Timeline, which describes conversations between Mr. Toberoff
  and Mr. Marks, including one subsequent to an August 8, 2002, telephone call including Mr.
  Marks and Mr. Toberoff. DC has the right to investigate the claims in the Timeline, especially in
  light of the Court’s May 25 order holding that defendants waived privilege over the Timeline
  documents provided to the U.S. Attorney’s Office.

  Request No. 46

      x   Original: All DOCUMENTS RELATING to any COMMUNICATION between YOU
          and Michael Siegel RELATING to the rights in SUPERMAN and/or SUPERBOY.

      x   Proposed: All DOCUMENTS RELATING to any COMMUNICATION between YOU
          and Michael Siegel or his representatives RELATING to the SIEGEL HEIRS’ purported
          rights in SUPERMAN and/or SUPERBOY.

           Defendants place this request in Objection Category C. This request now makes clear
  that it seeks only documents relating to communications regarding the Siegel heirs’ purported
  interest in Superman and/or Superboy, not all communications Mr. Toberoff may have had with
  Mr. Siegel or his representatives. Such documents, including valuations, drafts of agreements,
  correspondence evidencing negotiations, communicated offers, or numerous other documents,
  are clearly relevant to DC’s Fifth claim, which, inter alia, relates to interference with DC’s rights
  with relation to the Siegel heirs. The proceedings in the Northern District of Ohio confirm that
  defendants did not share a common interest with Mr. Siegel or his representatives while Mr.
  Siegel was alive, and all such documents should be produced.

  Request No. 48

      x   Original: All DOCUMENTS RELATING to any COMMUNICATION between or
          among Laura Siegel Larson and Michael Siegel.

      x   Proposed: All DOCUMENTS RELATING to any COMMUNICATION between Joanne
          Siegel and/or Laura Siegel Larson, on one hand, and Michael Siegel or his
          representatives on the other hand.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 46.

  Request No. 52

      x   Original: All DOCUMENTS RELATING to the letter agreement dated October 3, 2002
          that YOU signed on behalf of DEFENDANT IP Worldwide, LLC, and any revisions,
          modifications, or adjustments thereto.




                                             EXHIBIT F
                                               197
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 32 of 122 Page
                                          ID #:22533


  July 7, 2011 - Page 12



         Defendants place this request in Objection Category B. Documents sought by this
  request include agreements, correspondence evidencing negotiations, correspondence stating the
  purpose for the document described, amending agreements or correspondence, or numerous
  other documents. Such documents are relevant to the same claims and for the same reasons as
  those sought in Toberoff Request No. 27.

  Request No. 53

      x   Original: All DOCUMENTS RELATING to the Notice of Termination of Transfer
          Covering Extended Renewal Term: Superboy served on behalf of the SIEGEL HEIRS
          on or around November 8, 2002.

      x   Proposed: All DOCUMENTS created from 1995 to the present RELATING to the
          Notice of Termination of Transfer Covering Extended Renewal Term: Superboy served
          on behalf of the SIEGEL HEIRS on or around November 8, 2002.

          Defendants place this request in Objection Category C. This request has narrowed the
  timeframe for documents sought, and may include agreements relating to the disposition of
  Superboy rights, correspondence stating the purpose of the document described, or numerous
  other documents. DC is not seeking pursuant to this request any Superboy documents dating
  back to the character’s first appearance, merely documents related to the Superboy termination
  notice. Such documents are clearly relevant to DC’s First claim, which, inter alia, seeks to
  determine the validity of the Shuster heirs’ termination effort and alleges, in part, that their
  termination fails because of improper dealings related to Superboy that benefited the Siegel heirs
  to the detriment of the Shuster heirs and DC. The requested documents are also relevant to DC’s
  Fifth claim, which, inter alia, relates to Mr. Toberoff’s interference with DC’s rights with
  relation to the Siegel heirs while DC and the Siegel heirs were negotiating a global settlement of
  the Siegel heirs’ claims.

  Request No. 54

      x   Original: All DOCUMENTS RELATING to the Transfer Covering Extended Copyright
          Renewal Term of “Superman” served on behalf of the Estate of Joseph Shuster on
          November 10, 2003.

      x   Proposed: All DOCUMENTS created from 2001 to the present RELATING to the
          Transfer Covering Extended Copyright Renewal Term of “Superman” served on behalf
          of the Estate of Joseph Shuster on November 10, 2003.

          Defendants place this request in Objection Category C. This request has narrowed the
  timeframe for documents sought, and may include agreements relating to the disposition of
  Superboy rights, correspondence stating the purpose of the document described, correspondence
  stating the reason for the failure of the Shuster heirs to seek separate termination of Superboy, or
  numerous other documents. DC is not seeking pursuant to this request any Superman documents
  dating back to the character’s first appearance, merely documents related to the Superman



                                            EXHIBIT F
                                              198
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 33 of 122 Page
                                          ID #:22534


  July 7, 2011 - Page 13



  termination notice. Such documents are clearly relevant to DC’s First claim, which, inter alia,
  seeks to determine the validity of the Shuster heirs’ termination effort and alleges, in part, that
  their termination fails because of improper dealings related to Superboy that benefited the Siegel
  heirs to the detriment of the Shuster heirs and DC. Unlike the Siegel heirs’ initial termination
  notice, the Shuster heirs’ notice did not include any Superboy works. The requested documents
  are also relevant to DC’s Fourth claim, which, inter alia, relates to Mr. Toberoff’s interference
  with DC’s rights with relation to the 1992 agreement signed by Jean Peavy and Frank Shuster.

  Request No. 56

      x   Original: All DOCUMENTS RELATING to your role and ownership interest in Pacific
          Pictures Corporation, including, articles of organization, operating agreements, minutes,
          capital tables or other DOCUMENTS evidencing capital accounts or capital structure,
          filings, income statements, business plans, etc.

      x   Proposed 56(a): All DOCUMENTS identifying your past, present, and/or future role or
          position in Pacific Pictures Corporation.

      x   Proposed 56(b): All DOCUMENTS identifying your past and/or present ownership
          interest in Pacific Pictures Corporation.

      x   Proposed 56(c): All DOCUMENTS involved in the formation of Pacific Pictures
          Corporation, including, articles of organization, operating agreements, minutes, filings,
          business plans.

      x   Proposed 56(d): All DOCUMENTS evidencing Pacific Pictures Corporation’s past
          and/or present capital structure, including capital tables or other DOCUMENTS
          evidencing capital accounts or capital structure.

          These requests remove the “RELATING” language characterized by defendants as
  overbroad and substitute “identifying” or “evidencing.” Through these requests, DC seeks
  documents identifying the ownership, management and capital structures, and formation
  documents of Pacific Pictures, not every transaction in which it ever engaged. Such documents
  are clearly relevant to DC’s Third, Fourth, and Sixth claims, all of which relate to, inter alia,
  efforts by Mr. Toberoff and Pacific Pictures to market the Shuster heirs’ purported Superman
  rights and agreements entered into for that purpose. Defendants have also asserted that
  Mr. Toberoff acted as the Shuster heirs’ lawyer from the outset of their relationship, while the
  only agreement under which they operated at that time was through Pacific Pictures, which is not
  a law firm. The nature of this relationship is a factual issue that must be explored through
  discovery before defendants’ Rule 12 and SLAPP motions can be adjudicated.

  Request No. 57

      x   Original: All DOCUMENTS RELATING to your role and ownership interest in IP
          Worldwide LLC, including, articles of organization, operating agreements, minutes,



                                            EXHIBIT F
                                              199
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 34 of 122 Page
                                          ID #:22535


  July 7, 2011 - Page 14



          capital tables or other DOCUMENTS evidencing capital accounts or capital structure,
          filings, income statements, business plans, etc.

      x   Proposed 57(a): All DOCUMENTS identifying your past, present, and/or future role or
          position in IP Worldwide, LLC.

      x   Proposed 57(b): All DOCUMENTS identifying your past and/or present ownership
          interest in IP Worldwide, LLC.

      x   Proposed 57(c): All DOCUMENTS involved in the formation of IP Worldwide, LLC,
          including, articles of organization, operating agreements, minutes, filings, business
          plans.

      x   Proposed 57(d): All DOCUMENTS evidencing IP Worldwide, LLC’s past and/or
          present capital structure, including capital tables or other DOCUMENTS evidencing
          capital accounts or capital structure.

          These requests removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying” or “evidencing.” Through these requests, DC seeks
  documents identifying the ownership, management and capital structures, and formation
  documents of IP Worldwide. Such documents are clearly relevant to DC’s First claim, which,
  inter alia, seeks to determine the validity of the Shuster heirs’ termination effort and alleges, in
  part, that their termination fails because they lacked the necessary majority interest to terminate
  due to the Shuster heirs’ transfer of 50% of their purported Superman rights to Pacific Pictures.
  Documents previously produced show that Pacific Pictures contributed its “current IP business”
  at the formation of IP Worldwide, presumably including the Shuster heirs’ purported Superman
  interest. Regardless of defendants’ current position on this issue, DC seeks any documents
  relating to it. DC is entitled to test defendants’ representation through the discovery process.
  They are also relevant to DC’s Fifth claim, which, inter alia, relates to Mr. Toberoff’s and his
  companies’ interference with DC’s rights with relation to the Siegel heirs. Defendants have
  asserted that Mr. Toberoff acted as the Siegel heirs’ lawyer from the outset of their relationship,
  while the only agreement under which they operated at that time was through IP Worldwide,
  which is not a law firm. The nature of this relationship is a factual issue that must be explored
  through discovery before defendants’ Rule 12 and SLAPP motions can be adjudicated.

  Request No. 58

      x   Original: All DOCUMENTS RELATING to your role and ownership interest in IPW,
          LLC, including, articles of organization, operating agreements, minutes, capital tables or
          other DOCUMENTS evidencing capital accounts or capital structure, filings, income
          statements, business plans, etc.

      x   Proposed 58(a): All DOCUMENTS identifying your past, present, and/or future role or
          position in IPW, LLC.




                                             EXHIBIT F
                                               200
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 35 of 122 Page
                                          ID #:22536


  July 7, 2011 - Page 15



      x   Proposed 58(b): All DOCUMENTS identifying your past and/or present ownership
          interest in IPW, LLC.

      x   Proposed 58(c): All DOCUMENTS involved in the formation of IPW, LLC, including,
          articles of organization, operating agreements, minutes, filings, business plans.

      x   Proposed 58(d): All DOCUMENTS evidencing IPW, LLC’s past and/or present capital
          structure, including capital tables or other DOCUMENTS evidencing capital accounts or
          capital structure.

          These requests remove the “RELATING” language characterized by defendants as
  overbroad and substitute “identifying” or “evidencing.” Through these requests, DC seeks
  documents identifying the ownership, management and capital structures, and formation
  documents of IPW, not every transaction in which it ever engaged. Such documents are clearly
  relevant to DC’s First claim, which, inter alia, seeks to determine the validity of the Shuster
  heirs’ termination effort and alleges, in part, that their termination fails because they lacked the
  necessary majority interest to terminate due to the Shuster heirs’ transfer of 50% of their
  purported Superman rights to Pacific Pictures. Documents previously produced show that
  Pacific Pictures contributed its “current IP business” at the formation of IP Worldwide,
  presumably including the Shuster heirs’ purported Superman interest. Mr. Toberoff has stated at
  deposition that interests in rights held by IP Worldwide were assigned to IPW. We are entitled
  to see all documents effectuating and related to that transfer. Regardless of defendants’ current
  position on this issue, DC seeks any documents relating to it. DC is entitled to test defendants’
  representation through the discovery process.

  Requests for Production to Defendant Pacific Pictures Corporation

  Request No. 5

      x   Original: All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.

      x   Proposed 5(a): All DOCUMENTS RELATING to any interest the SIEGEL HEIRS’
          claim in SUPERMAN and/or SUPERBOY.

      x   Proposed 5(b): All DOCUMENTS RELATING to any interest the SHUSTER HEIRS’
          claim in SUPERMAN and/or SUPERBOY.

        Defendants place these requests in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 5.

  Request No. 15

      x   Original: All DOCUMENTS RELATING to the valuation of any past, current, or
          potential ownership interest in SUPERMAN and/or SUPERBOY.



                                             EXHIBIT F
                                               201
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 36 of 122 Page
                                         ID #:22537


  July 7, 2011 - Page 16



      x   Proposed: All DOCUMENTS created since 1995 RELATING to the valuation of any
          past, current, or potential ownership interest in SUPERMAN and/or SUPERBOY.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 18.

  Request No. 19

      x   Original: All DOCUMENTS RELATING to YOUR introduction to and involvement
          with the SHUSTER HEIRS.

      x   Proposed: All DOCUMENTS RELATING to YOUR introduction to the SHUSTER
          HEIRS.

          This request has been narrowed to make clear that DC seeks documents relating to
  Pacific Pictures’ introduction to the Shuster heirs, not the broader “involvement with” them. DC
  seeks the same types of documents—relevant to the same claims and for the same reasons—as
  sought in Toberoff Request No. 28.

  Request No. 23

      x   Original: All DOCUMENTS RELATING to YOUR past and current ownership and
          management structure, including operating agreements, by-laws, capitalization schedules,
          capital accounts, shares, filings, and other financial forms.

      x   Proposed: All DOCUMENTS identifying YOUR past and current ownership and
          management structure, including operating agreements, by-laws, capitalization schedules,
          capital accounts, shares, filings, and other financial forms.

         This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” DC seeks the same types of documents—relevant to the
  same claims and for the same reasons—as sought in Toberoff Request No. 56.

  Request No. 24

      x   Original: All DOCUMENTS RELATING to the Memorandum of Agreement dated
          February 2, 2002 that YOU entered into with Ari Emanuel.

          Defendants place this request in Objection Category B. Because the document described
  here appears to have created IP Worldwide, documents sought by this request, including drafts of
  agreements, correspondence evidencing negotiations, correspondence stating the purpose of the
  document described, amending agreements or correspondence, or numerous other documents,
  are clearly relevant to DC’s Fifth claim, which, inter alia, relates to Mr. Toberoff’s and his
  companies’ interference with DC’s rights with relation to the Siegel heirs while DC and the



                                           EXHIBIT F
                                             202
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 37 of 122 Page
                                          ID #:22538


  July 7, 2011 - Page 17



  Siegel heirs were negotiating a global settlement of the Siegel heirs’ claims. Defendants have
  also asserted that Mr. Toberoff acted as the Siegel heirs’ lawyer from the outset of their
  relationship, while the only agreement under which they operated at that time was through IP
  Worldwide, which is not a law firm. The nature of this relationship is a factual issue that must
  be explored through discovery before defendants’ Rule 12 and SLAPP motions can be
  adjudicated.

  Request No. 25

      x   Original: All DOCUMENTS RELATING to any contributions by YOU to the IP
          Worldwide joint venture.

      x   Proposed: All DOCUMENTS identifying any contributions by YOU to the IP
          Worldwide joint venture.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks all documents
  identifying Pacific Pictures’ contributions to IP Worldwide, another of Mr. Toberoff’s
  companies, and may include agreements, drafts of agreements, correspondence evidencing
  negotiations, amending agreements or correspondence, or numerous other documents. Such
  documents are clearly relevant to DC’s First claim, which, inter alia, seeks to determine the
  validity of the Shuster heirs’ termination effort and alleges, in part, that their termination fails
  because they lacked the necessary majority interest to terminate due to the Shuster heirs’ transfer
  of 50% of their purported Superman rights to Pacific Pictures. Documents previously produced
  show that Pacific Pictures contributed its “current IP business” at the formation of IP Worldwide,
  presumably including the Shuster heirs’ purported Superman interest. Regardless of defendants’
  current position on this issue, DC seeks any documents relating to it. Moreover, the extent to
  which Mr. Toberoff and/or his companies have an interest in the heirs’ rights is a factual issue
  that must be resolved before defendants’ Rule 12 and SLAPP motions can be adjudicated.

  Request No. 27

      x   Original: All DOCUMENTS RELATING to the letter agreement dated October 27, 2003
          that YOU entered into with the SHUSTER HEIRS.

        Defendants place this request in Objection Category B. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as those sought in Toberoff
  Request No. 40.

  Request No. 28

      x   Original: All DOCUMENTS RELATING to the letter dated September 10, 2004 that
          YOU signed with the SHUSTER HEIRS.




                                            EXHIBIT F
                                              203
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 38 of 122 Page
                                          ID #:22539


  July 7, 2011 - Page 18



        Defendants place this request in Objection Category B. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as those sought in Toberoff
  Request No. 40.

  Request No. 29

      x   Original: All DOCUMENTS RELATING to the formation of PACIFIC PICTURES.

      x   Proposed: All DOCUMENTS involved in the formation of PACIFIC PICTURES,
          including, articles of organization, operating agreements, minutes, filings, business plans.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks all of Pacific Pictures’
  formation documents. Such documents are clearly relevant to DC’s Third and Sixth claims,
  which, inter alia, relate to efforts by Mr. Toberoff and Pacific Pictures to market the Shuster
  heirs’ purported Superman rights and agreements entered into for that purpose. Defendants have
  also asserted that Mr. Toberoff acted as the Shuster heirs’ lawyer from the outset of their
  relationship, while the only agreement under which they operated at that time was through
  Pacific Pictures, which is not a law firm. DC is entitled to test defendants’ representation
  through the discovery process.

  Request No. 30

      x   Original: All DOCUMENTS RELATING to the current corporate status of PACIFIC
          PICTURES.

      x   Proposed: All DOCUMENTS identifying the current corporate status of PACIFIC
          PICTURES.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  the current status of Pacific Pictures. Such documents are clearly relevant to DC’s Third, Fourth,
  and Sixth claims, all of which relate to, inter alia, efforts by Mr. Toberoff and Pacific Pictures to
  market the Shuster heirs’ purported Superman rights and agreements entered into for that
  purpose. They are also relevant to DC’s First claim, which, inter alia, seeks to determine the
  validity of the Shuster heirs’ termination effort and alleges, in part, that their termination fails
  because they lacked the necessary majority interest to terminate due to the Shuster heirs’ transfer
  of 50% of their purported Superman rights to Pacific Pictures. Regardless of defendants’ current
  position on this issue, DC seeks any documents relating to it. Moreover, the extent to which Mr.
  Toberoff and/or his companies have an interest in the heirs’ rights is a factual issue that must be
  resolved before defendants’ Rule 12 and SLAPP motions can be adjudicated.




                                             EXHIBIT F
                                               204
Case 2:10-cv-03633-ODW-RZ             Document 357-4 Filed 01/03/12              Page 39 of 122 Page
                                           ID #:22540


  July 7, 2011 - Page 19



  Request No. 31

      x   Original: All DOCUMENTS RELATING to any past, current, or planned business
          activity of PACIFIC PICTURES.

      x   Proposed: All DOCUMENTS identifying any business plans of PACIFIC PICTURES,
          including but not limited to marketing of rights held, solicitation of new business, or
          plans to sell, lease, license, or otherwise transfer rights.

          DC offers this narrowed request, which removes the “RELATING” language
  characterized by defendants as overbroad and substitutes “identifying.” Through this request,
  DC seeks documents identifying business plans relating to rights held by Pacific Pictures
  (including any efforts to promote, arrange, or negotiate the sale, assignment, lease, license, or
  any other disposition or exploitation of rights or property), not all unrelated business activities.
  Such documents are relevant to same claims and for the reasons stated in PPC Request No. 30.

  Request No. 33

      x   Original: All DOCUMENTS RELATING to any individual or entity that currently holds
          property or interests formerly held by PACIFIC PICTURES.

      x   Proposed: All DOCUMENTS identifying any individual or entity that currently holds
          property or interests formerly held by PACIFIC PICTURES.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  any transfers by Pacific Pictures of interests related to Superman and/or Superboy, including
  agreements, drafts of agreements, correspondence evidencing negotiations, or numerous other
  documents. Such documents are relevant to same claims and for the reasons stated in PPC
  Request No. 30.

  Requests for Production to Defendant IP Worldwide, LLC

  Request No. 5

      x   Original: All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.

      x   Proposed 5(a): All DOCUMENTS RELATING to the SIEGEL HEIRS’ purported
          interest in SUPERMAN and/or SUPERBOY.

      x   Proposed 5(b): All DOCUMENTS RELATING to the SHUSTER HEIRS’ purported
          interest in SUPERMAN and/or SUPERBOY.




                                             EXHIBIT F
                                               205
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 40 of 122 Page
                                       ID #:22541


  July 7, 2011 - Page 20



        Defendants place these requests in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 5.

  Request No. 15

      x   Original: All DOCUMENTS RELATING to the valuation of any past, current, or
          potential ownership interest in SUPERMAN and/or SUPERBOY.

      x   Proposed: All DOCUMENTS created since 1995 RELATING to the valuation of any
          past, current, or potential ownership interest in SUPERMAN and/or SUPERBOY.

        Defendants place this request in Objection Category C. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 18.

  Request No. 18

      x   Original: All DOCUMENTS RELATING to YOUR introduction to and involvement
          with the SIEGEL HEIRS.

      x   Proposed: All DOCUMENTS RELATING to YOUR introduction to the SIEGEL
          HEIRS.

          This request has been narrowed to make clear that DC seeks documents relating to IP
  Worldwide’s introduction to the Siegel heirs, not the broader “involvement with” them. DC
  seeks the same types of documents—relevant to the same claims and for the same reasons—as
  sought in Toberoff Request No. 27.

  Request No. 24

      x   Original: All DOCUMENTS RELATING to the Memorandum of Agreement dated
          February 2, 2002 that YOU entered into with Ari Emanuel.

          Defendants place this request in Objection Category B. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in PPC Request
  No. 24.

  Request No. 25

      x   Original: All DOCUMENTS RELATING to contributions of DEFENDANTS Marc
          Toberoff and Pacific Pictures Corporation to IP WORLDWIDE.




                                          EXHIBIT F
                                            206
Case 2:10-cv-03633-ODW-RZ              Document 357-4 Filed 01/03/12           Page 41 of 122 Page
                                            ID #:22542


  July 7, 2011 - Page 21



      x       Proposed: All DOCUMENTS identifying contributions of DEFENDANTS Marc
              Toberoff and Pacific Pictures Corporation to IP WORLDWIDE.

         This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” DC seeks the same types of documents—relevant to the
  same claims and for the same reasons—as sought in PPC Request No. 25.

  Request No. 27

          x    Original: All DOCUMENTS RELATING to the letter agreement dated October 3,
               2002—and any revisions, modifications, or adjustments thereto—that IP
               WORLDWIDE signed with the SIEGEL HEIRS.

        Defendants place this request in Objection Category B. DC seeks the same types of
  documents—relevant to the same claims and for the same reasons—as sought in Toberoff
  Request No. 52.

  Request No. 28

          x    Original: All DOCUMENTS RELATING to the identification of IP WORLDWIDE on
               the Document Cover Sheet for Recordation of Documents filed with the Transfer
               Covering Extended Copyright Renewal Term of “Superman” served on behalf of the
               Estate of Joseph Shuster on November 10, 2003.

          x    Proposed: All DOCUMENTS created from 2001 to the present RELATING to the
               identification of IP WORLDWIDE on the Document Cover Sheet for Recordation of
               Documents filed with the Transfer Covering Extended Copyright Renewal Term of
               “Superman” served on behalf of the Estate of Joseph Shuster on November 10, 2003.

          This request narrows the timeframe of documents sought. Through this request, DC
  seeks all documents relating to the identification of IP Worldwide in the Shuster heirs’
  termination notice. Such documents, including correspondence or other documents evidencing
  work IP Worldwide performed for the Shuster heirs, correspondence describing the purpose of
  the identification of IP Worldwide in the document described, or numerous other documents, are
  clearly relevant to DC’s First claim, which, inter alia, seeks to determine the validity of the
  Shuster heirs’ termination effort and alleges, in part, that their termination fails because they
  lacked the necessary majority interest to terminate due to the Shuster heirs’ transfer of 50% of
  their purported Superman rights to Pacific Pictures. To our knowledge, defendants have
  produced no documents identifying any work that IP Worldwide did for the Shuster heirs, but
  documents previously produced do show that Pacific Pictures contributed its “current IP
  business” at the formation of IP Worldwide, presumably including the Shuster heirs’ purported
  Superman interest. Regardless of defendants’ current position on this issue, DC seeks any
  documents relating to it. Moreover, the extent to which Mr. Toberoff (the businessman) and/or
  his companies have an interest in the heirs’ rights is a factual issue that must be resolved before
  defendants’ Rule 12 and SLAPP motions can be adjudicated.



                                              EXHIBIT F
                                                207
Case 2:10-cv-03633-ODW-RZ                Document 357-4 Filed 01/03/12             Page 42 of 122 Page
                                              ID #:22543


  July 7, 2011 - Page 22



  Request No. 29

          x    Original: All DOCUMENTS RELATING to the formation of IP WORLDWIDE.

          x    Proposed: All DOCUMENTS involved in the formation of IP WORLDWIDE,
               including, articles of organization, operating agreements, minutes, filings, business
               plans.

           This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks all of IP Worldwide’s
  formation documents. Such documents are clearly relevant to DC’s Fifth claim, which, inter
  alia, relates to interference by Mr. Toberoff (the businessman) and his companies with DC’s
  rights with relation to the Siegel heirs. Defendants have also asserted that Mr. Toberoff acted as
  the Siegel heirs’ lawyer from the outset of their relationship, while the only agreement under
  which they operated at that time was through IP Worldwide, which is not a law firm. Moreover,
  these documents relate to DC’s First claim, which seeks to determine the validity of the Shuster
  heirs’ termination effort and alleges, in part, that their termination fails because they lacked the
  necessary majority interest to terminate due to the Shuster heirs’ transfer of 50% of their
  purported Superman rights to Pacific Pictures. Documents previously produced show that
  Pacific Pictures contributed its “current IP business” at the formation of IP Worldwide,
  presumably including the Shuster heirs’ purported Superman interest. Regardless of defendants’
  current position on this issue, DC seeks any documents relating to it. DC is entitled to test
  defendants’ representations through the discovery process.

  Request No. 30

      x       Original: All DOCUMENTS RELATING to the current corporate status of IP
              WORLDWIDE.

      x       Proposed: All DOCUMENTS identifying the current corporate status of IP
              WORLDWIDE.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  the current status of IP Worldwide. Such documents are clearly relevant to DC’s First claim,
  which, inter alia, seeks to determine the validity of the Shuster heirs’ termination effort and
  alleges, in part, that their termination fails because they lacked the necessary majority interest to
  terminate due to the Shuster heirs’ transfer of 50% of their purported Superman rights to Pacific
  Pictures. Documents previously produced show that Pacific Pictures contributed its “current IP
  business” at the formation of IP Worldwide, presumably including the Shuster heirs’ purported
  Superman interest. Regardless of defendants’ current position on this issue, DC seeks any
  documents relating to it. DC is entitled to test defendants’ representation through the discovery
  process.




                                                EXHIBIT F
                                                  208
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 43 of 122 Page
                                          ID #:22544


  July 7, 2011 - Page 23



  Request No. 32

      x   Original: All DOCUMENTS RELATING to any past, current, or planned business
          activity of IP WORLDWIDE.

      x   Proposed: All DOCUMENTS identifying any business plans of IP WORLDWIDE,
          including but not limited to marketing of rights held, solicitation of new business, or
          plans to sell, lease, license, or otherwise transfer rights.

           DC offers this narrowed request, which removes the “RELATING” language
  characterized by defendants as overbroad and substitutes “identifying.” Through this request,
  DC seeks documents identifying business plans relating to rights held by IP Worldwide
  (including any efforts to promote, arrange, or negotiate the sale, assignment, lease, license, or
  any other disposition or exploitation of rights or property), not all unrelated business activities.
  Such documents are clearly relevant to DC’s First claim, which, inter alia, seeks to determine the
  validity of the Shuster heirs’ termination effort and alleges, in part, that their termination fails
  because they lacked the necessary majority interest to terminate due to the Shuster heirs’ transfer
  of 50% of their purported Superman rights to Pacific Pictures. Documents previously produced
  show that Pacific Pictures contributed its “current IP business” at the formation of IP Worldwide,
  presumably including the Shuster heirs’ purported Superman interest. Mr. Toberoff has stated at
  deposition that interests in rights held by IP Worldwide were assigned to IPW. Regardless of
  defendants’ current position on this issue, DC seeks any documents relating to it. DC is entitled
  to test defendants’ representation through the discovery process. These documents are also
  relevant to statements by Mr. Toberoff regarding efforts by his companies and him to market the
  Siegel heirs’ and Shuster heirs’ purported Superman rights and to claims in the May 13, 2003,
  letter from Michael Siegel alleging that Mr. Toberoff was making no efforts to market the Siegel
  heirs’ rights, all of which DC is entitled to investigate.

  Request No. 33

      x   Original: All DOCUMENTS RELATING to any past, current, or planned property in
          which IP WORLDWIDE held, holds, or will hold an interest.

      x   Proposed: All DOCUMENTS identifying any past, current, or planned property in which
          IP WORLDWIDE held, holds, or will hold an interest.

         This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Such documents are relevant to same claims and for the
  reasons stated in IP Worldwide Request No. 32.

  Request No. 34

      x   Original: All DOCUMENTS RELATING to any individual or entity that currently holds
          property or interests formerly held by IP WORLDWIDE.




                                             EXHIBIT F
                                               209
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 44 of 122 Page
                                         ID #:22545


  July 7, 2011 - Page 24



      x   Proposed: All DOCUMENTS identifying any individual or entity that currently holds
          property or interests formerly held by IP WORLDWIDE.

         DC offers this narrowed request, which removes the “RELATING” language
  characterized by defendants as overbroad and substitutes “identifying.” Through this request,
  DC seeks documents identifying any transfers by IP Worldwide of interests related to Superman
  and/or Superboy. Such documents are relevant to same claims and for the reasons stated in IP
  Worldwide Request No. 32.

  Requests for Production to Defendant IPW, LLC

  Request No. 24

      x   Original: All DOCUMENTS RELATING to the formation of IPW.

      x   Proposed: All DOCUMENTS involved in the formation of IPW, including, articles of
          organization, operating agreements, minutes, filings, business plans.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks all of IPW’s formation
  documents. Such documents are clearly relevant to DC’s First claim, which, inter alia, seeks to
  determine the validity of the Shuster heirs’ termination effort and alleges, in part, that their
  termination fails because they lacked the necessary majority interest to terminate due to the
  Shuster heirs’ transfer of 50% of their purported Superman rights to Pacific Pictures. Documents
  previously produced show that Pacific Pictures contributed its “current IP business” at the
  formation of IP Worldwide, presumably including the Shuster heirs’ purported Superman
  interest. Mr. Toberoff has stated at deposition that interests in rights held by IP Worldwide were
  assigned to IPW. Regardless of defendants’ current position on this issue, DC seeks any
  documents relating to it. DC is entitled to test defendants’ representations through the discovery
  process.

  Request No. 25

      x   Original: All DOCUMENTS RELATING to the current corporate status of IPW.

      x   Proposed: All DOCUMENTS identifying the current corporate status of IPW.

          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  the current status of IPW. Such documents are relevant to the same claims and for the reasons
  stated in IPW Request No. 24.




                                           EXHIBIT F
                                             210
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 45 of 122 Page
                                          ID #:22546


  July 7, 2011 - Page 25



  Request No. 26

      x   Original: All DOCUMENTS RELATING to the past and current ownership and
          management structure of IPW, including operating agreements, capitalization schedules,
          capital accounts, filings, and other financial forms.

      x   Proposed: All DOCUMENTS identifying the past and current ownership and
          management structure of IPW, including operating agreements, capitalization schedules,
          capital accounts, filings, and other financial forms.

         This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  the ownership and management structure of IPW, not every transaction in which it ever engaged.
  Such documents are relevant to the same claims and for the reasons stated in IPW Request No.
  24.

  Request No. 27

      x   Original: All DOCUMENTS RELATING to any past, current, or planned business
          activity of IPW.

      x   Proposed: All DOCUMENTS identifying any business plans of IPW, including but not
          limited to marketing of rights held, solicitation of new business, or plans to sell, lease,
          license, or otherwise transfer rights.

          DC offers this narrowed request, which removes the “RELATING” language
  characterized by defendants as overbroad and substitutes “identifying.” Through this request,
  DC seeks documents identifying business plans relating to rights held by IPW (including any
  efforts to promote, arrange, or negotiate the sale, assignment, lease, license, or any other
  disposition or exploitation of rights or property), not all unrelated business activities. Such
  documents are relevant to the same claims and for the reasons stated in IPW Request No. 24.
  These documents are also relevant to statements by Mr. Toberoff regarding efforts by his
  companies and him to market the Siegel heirs’ and Shuster heirs’ purported Superman rights and
  to claims in the May 13, 2003, letter from Michael Siegel alleging that Mr. Toberoff was making
  no efforts to market the Siegel heirs’ rights, all of which DC is entitled to investigate.

  Request No. 29

      x   Original: All DOCUMENTS RELATING to any individual or entity that currently holds
          property or interests formerly held by IPW.

      x   Proposed: All DOCUMENTS identifying any individual or entity that currently holds
          property or interests formerly held by IPW.




                                             EXHIBIT F
                                               211
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 46 of 122 Page
                                          ID #:22547


  July 7, 2011 - Page 26



          This request removes the “RELATING” language characterized by defendants as
  overbroad and substitutes “identifying.” Through this request, DC seeks documents identifying
  any transfers by IPW of interests related to Superman and/or Superboy, including agreements,
  drafts of agreements, correspondence evidencing negotiations, or numerous other documents.
  Such documents are relevant to the same claims and for the reasons stated in IPW Request No.
  24.

  PART II

          As set forth in our June 1 letter, there are five categories of document requests for which
  defendants have produced no or almost no documents. Defendants have sidestepped or ignored
  entirely DC’s requests for clarification concerning these documents.

          A.       Agreements Between or Among Defendants

          Drafts and Correspondence. Despite the many business agreements between and among
  defendants, you have yet to produce any drafts of those agreements or written communications
  addressing them. To take just one example, the 2001 Pacific Pictures agreement sets forth a
  detailed explanation of the parties’ rights and obligations and provides that “[t]he parties have
  mutually participated in the negotiation and drafting of this Agreement.” (Emphasis added.)
  Mr. Peary confirmed that drafts of that agreement do in fact exist:

          Mr. Petrocelli: Okay. The agreement that you did sign which I’ll show you in a
          bit [the 2001 Pacific Pictures agreement], were there drafts of that that went back
          and forth as you recall or did you get a document, sign it, and return it?

          Mr. Peary: There were drafts.

  Peary Dep. Tr. 99:6-10. The 2003 Pacific Pictures agreement, in which the Shuster heirs
  suddenly and inexplicably disclaimed any interest in Superboy, contains an identical provision.
  And in 2004, Mr. Toberoff (the businessman) sent the Shuster heirs a letter “confirm[ing]” that
  the 2001 and 2003 agreements “have been cancelled”—with no explanation of how, when, or
  why. The drafts disclosed by Mr. Peary have not been produced, nor have any others.

          During our June 13 call, Mr. Toberoff (falsely) represented that there are no drafts of
  these (or any other) agreements and that he could not locate any relevant correspondence. He
  suggested that such correspondence may have been destroyed as a result of his 2007 house fire.
  Mr. Toberoff did not clarify whether additional copies of such correspondence exist in electronic
  form, in the Siegel or Shuster heirs’ files, in his law office’s files, or in his businesses’ files.
  Moreover, such documents should have been produced in Siegel at the same time as the
  agreements themselves in 2006—well before the 2007 fire. See, e.g., Siegel Request No. 63
  (“All Writings concerning the Shuster Representatives, including but not limited to any
  communication or agreements between Plaintiffs and any of the Shuster Representatives.”). In
  light of Mr. Peary’s testimony, defendants should immediately produce all drafts of the 2001
  Pacific Pictures agreement, as well as drafts of all other business agreements between and among



                                            EXHIBIT F
                                              212
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12             Page 47 of 122 Page
                                         ID #:22548


  July 7, 2011 - Page 27



  defendants. If in fact no drafts or correspondence regarding these agreements exist (aside from
  those disclosed by Mr. Peary), DC is entitled to a clear and unequivocal statement from
  defendants to this effect.

          Conflict Disclosures and Waivers. Defendants’ June 13 letter still did not address
  whether there are any disclosures, waivers, or similar documents addressing the conflict of
  interest between Mr. Toberoff and the Siegel and Shuster heirs, as required by California law.
  E.g., Fair v. Bakhtiari, 2011 WL 1991999 (Cal. Ct. App. May 24, 2011) (requiring attorney to
  disclose, and clients to waive, conflicts of interest in writing). Mr. Peary, however, admitted
  during his June 29 deposition that at least one such document—entered into in 2010 and signed
  by the Siegel heirs, Mr. Toberoff, and him—does exist. Peary Dep. Tr. 86:2-18. DC is entitled
  to discover this document and any other conflict disclosures or waivers, including advice to seek
  outside counsel. E. Maine Baptist Church v. Regions Bank, 2007 WL 1445257, at *2-3 (E.D.
  Mo. May 10, 2007) (“The production of conflict memoranda, new matter forms, and
  correspondence regarding conflicts is not protected by the attorney-client privilege or work
  product doctrine.”); Chevron USA Inc. v. Peuler, 2004 WL 224579, at *3 (E.D. La. Feb. 3, 2004)
  (ordering production of conflict of interest waiver). During our June 13 call, I expressly asked
  Mr. Toberoff whether the heirs consulted with independent counsel before entering into business
  agreements with his companies, and he responded: “I don’t know.”

          B.       Toberoff’s Ownership Interest

          Despite the objection in Mr. Toberoff’s June 13 letter, there is nothing
  “incomprehensible” about DC’s position that defendants are required to produce documents
  concerning the Toberoff defendants’ ownership interest in the Siegels’ or Shusters’ putative
  copyright termination rights. Pursuant to the 2001 and 2003 Pacific Pictures agreements, the
  Shusters transferred their Superman rights to the joint venture and agreed to divide these rights
  with Pacific Pictures 50-50 if the joint venture was “terminated for any reason.” A 2004 letter
  purported to “cancel” both Pacific Pictures agreements. While defendants now claim that the
  Pacific Pictures agreements were “void ab initio” under the Copyright Act, there are no
  documents addressing what happened to the outstanding half of the Shusters’ copyright interests.
  DC is entitled to such documents to the extent they exist.

          C.       Marketing of Purported Superman Rights

          The Toberoff defendants have repeatedly represented—to DC, the Siegels, the Shusters,
  and to the public—that there are scores of potential investors interested in buying the Siegel and
  Shuster heirs’ putative Superman rights and that they have endeavored to market those rights.
  Defendants have only produced two pieces of evidence to back this up: a parking pass to Fox
  and an e-mail exchange with Paramount. We asked Mr. Toberoff on our June 13 call whether
  this was the totality of documents regarding his efforts to market the Superman rights, and he
  responded that defendants have produced all such documents—there are no other
  communications, calendar entries, scheduling e-mails, or similar documents. We asked
  Mr. Toberoff whether he had communicated with any other actual or potential investor, as he




                                            EXHIBIT F
                                              213
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 48 of 122 Page
                                         ID #:22549


  July 7, 2011 - Page 28



  previously claimed, but he refused to respond and advised that DC should serve interrogatories
  on the subject, which we did on July 1, 2011.

          D.       Toberoff-Related Business Entities

         While we disagree with defendants’ position, we have substantially narrowed these
  requests, as described above (PPC Request No. 31, IP Worldwide Request No. 32, IPW Request
  No. 27).

  PART III

          There are many gaps in defendants’ production beyond the five categories of documents
  identified in our June 1 letter, including a conspicuous absence of documents concerning Ari
  Emanuel, David Michaels, and the unnamed “billionaire investor.” DC intends to raise these
  deficiencies in a motion before the Magistrate unless defendants produce these documents or
  explain their absence.

          A.       Ari Emanuel Documents

          Magistrate Zarefsky ordered defendants to produce documents all documents involving
  Ari Emanuel “that pertain to Superman, Superboy, the Siegels or the Shusters.” Docket No. 262
  at 5. On June 17, defendants produced a total of seven pages consisting of six non-substantive e-
  mails from Mr. Toberoff to Mr. Emanuel, most of which were merely forwarding news reports
  related to Superman.

         In 2002, Mr. Toberoff formed the IP Worldwide joint venture with Mr. Emanuel for the
  sole purpose of exploiting the Siegels’ putative Superman rights. Despite this nearly ten-year
  partnership, defendants produced no substantive communications between Messrs. Toberoff and
  Emanuel—for example, drafts of the Toberoff-Emanuel agreement or IP Worldwide-Siegel
  agreement, correspondence regarding efforts to exploit the Siegels’ Superman rights, documents
  addressing the supposed expiration of the IP Worldwide-Siegel agreement in 2005 and
  subsequent assignment of IP Worldwide’s rights to IPW, e-mails from Mr. Emanuel responding
  to Mr. Toberoff’s six e-mails, or any other communication from Mr. Emanuel.

           Moreover, during our meet-and-confer exchanges, Ms. Brill represented that defendants
  were withholding numerous Ari Emanuel documents—far more than the seven pages defendants
  ultimately produced. Ms. Brill’s February 2011 correspondence referred to Mr. Toberoff’s
  “long-standing relationship with Mr. Emanuel” and asserted that defendants would produce
  relevant documents if DC narrowed its document requests. During our February 14 meet-and-
  confer discussion, Ms. Brill represented that there were many more responsive Ari Emanuel
  documents than defendants had produced. Now that defendants’ proposed narrowing of DC’s
  requests has been adopted by the Court, defendants are required to produce all such documents
  or justify their continued withholding of documents.




                                           EXHIBIT F
                                             214
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 49 of 122 Page
                                         ID #:22550


  July 7, 2011 - Page 29



           For the reasons described above (see, e.g., PPC Request No. 24), these documents are
  integral to DC’s interference claims and the factual assertions in defendants’ SLAPP briefing.

        DC reserves its rights to file a motion seeking to compel these documents if they are not
  produced forthwith.

          B.       David Michaels Communications

         Toberoff Document Request No. 20 seeks: “All DOCUMENTS RELATING to any
  COMMUNICATIONS YOU have had with the TOBEROFF TIMELINE AUTHOR since July
  2006,” and defines “YOU” to include “any PERSON … acting on [Mr. Toberoff’s] behalf,
  including but not limited to his/their agents, employees, attorneys, and representatives.”
  Defendants redefined “YOU” to include only Mr. Toberoff, and responded: “Toberoff has no
  responsive documents to this request.”

         Defendants’ unilateral revision of DC’s document request was improper and
  unwarranted—defendants are required to respond to the request as written. See Goodrich Corp.
  v. Emhart Indus., Inc., 2005 WL 6440828, at *3-4 (C.D. Cal. June 10, 2005) (ordering
  production of all responsive documents in respondent’s control notwithstanding broad definition
  of “you” or “your”); 7 JAMES WM. MOORE ET AL., MOORE’S FEDERAL PRACTICE § 34.14[2][c]
  (2011) (documents in attorney’s possession remain in party’s “control”). If in fact there have
  been no communications between Mr. Michaels and Mr. Toberoff or his agents, employees,
  attorneys, or other representatives since July 2006, defendants must state so clearly and
  unequivocally.

          These documents are necessary for DC to determine whether defendants have endeavored
  to silence a key witness in this case.

          C.       “Investor” Documents

          DC’s document requests asked for: “All DOCUMENTS RELATING to any potential
  investors or other PERSONS who have expressed interest in purchasing or otherwise investing in
  any rights in SUPERMAN and/or SUPERBOY.” Mr. Toberoff has repeatedly claimed that there
  is (or was) an unnamed “investor” interested in purchasing the Siegels’ putative Superman rights.
  E.g., DB 029, 040, LSL 211, Q1-7. Despite the fact that this “investor” was supposedly in
  regular contact with Mr. Toberoff and negotiating multi-million dollar offers, defendants have
  never produced a single communication with the investor, or any document—including a
  calendar entry or otherwise relating to meetings or other communications with such an investor.

        Please produce all documents relating to this and any other investors. If no such
  documents exist, DC is entitled to a clear and unequivocal statement to this effect.

                                          *       *      *




                                           EXHIBIT F
                                             215
Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12          Page 50 of 122 Page
                                        ID #:22551


  July 7, 2011 - Page 30



         We are available on July 11 or 12 to further discuss these issues. As we made clear in
  our July 3 e-mail, however, now that DC has substantially narrowed and clarified its document
  requests, we expect that defendants will make a complete production of responsive documents on
  July 15 and will not merely assert blanket objections as they have in the past.

          We reserve all rights.

                                                 Very truly yours,



                                                 Matthew T. Kline
                                                 of O’MELVENY & MYERS LLP

  cc:     Daniel M. Petrocelli




                                          EXHIBIT F
                                            216
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 51 of 122 Page
                                 ID #:22552




                  EXHIBIT G
        Case 2:10-cv-03633-ODW-RZ              Document 357-4 Filed 01/03/12            Page 52 of 122 Page
                                                    ID #:22553

                                  TOBEROFF & ASSOCIATES, P.C.
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            July 25, 2011

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Matt:

            Defendants write in response to the notices of deposition served on Marc Toberoff, Pacific
            Pictures Corporation (“PPC”), IP Worldwide, LLC (“IPWW”), and IPW, LLC (“IPW”), for
            deposition dates of August 10, 12, 16, and 30, 2011, respectively.

            DC’s July 11, 2011 letter indicated that it scheduled the depositions for these dates in light of
            Mr. Toberoff’s vacation from July 25-August 5, 2011. As you know, Mr. Toberoff cancelled
            that vacation to accommodate the depositions of Dawn Peavy and Kevin Marks, noticed by DC
            for August 3 and 5, respectively.

            If DC wishes to take Mr. Toberoff’s deposition in advance of its August 8, 2011 deadline to
            file a new opposition to defendants’ anti-SLAPP motion, Mr. Toberoff is available for
            deposition on July 28-29, 2011. If DC wishes to proceed on such dates, please notify us
            immediately.

            Otherwise, Mr. Toberoff is available for deposition on August 10, 2011 as noticed, as well as the
            other noticed dates of August 12 and August 16, 2011. However, he is not available on August
            30, as he has rescheduled his family vacation for August 21 – September 6, 2011.

            PPC is as you know dissolved, IPWW has long been inactive and the allegations in DC’s
            complaint do not even involve IPW. Moreover, all three were (as to PPC) and are closely-held
            companies of Mr. Toberoff. When Mr. Toberoff first appears for his deposition pursuant to
            F.R.C.P. 30(b)(1), he will also appear as the F.R.C.P. 30(b)(6) witness designated by PPC,
            IPWW and IPW, which will adopt his testimony. See, e.g., Novartis Pharms. Corp. v. Abbott
            Labs., 203 F.R.D. 159, 162–63 (D. Del. 2001); A.I.A. Holdings, S.A v. Lehman Brothers, Inc.,
            2002 U.S. Dist. LEXIS 9218, at *18 (S.D.N.Y. May 20, 2002) (“However, common sense



                                                      EXHIBIT G
                                                        217
Case 2:10-cv-03633-ODW-RZDocument 357-4 Filed 01/03/12                         Page 53 of 122 Page
                              ID #:22554
  TOBEROFF & ASSOCIATES, P.C.

  July 25, 2011
  Re:    DC Comics v. Pacific Pictures Corp.
  Page: 2 of 2

  teaches that in the case of relatively small, closely-held entities … there may be no difference
  between the knowledge of the entity and the knowledge of its principals…. A 30(b)(6)
  deposition may not be justified where, assuming the witness is properly prepared, the entity
  establishes that the witness’s testimony as a 30(b)(6) witness would be identical to his testimony
  as an individual…. In such a situation, there appears to be no obstacle to the entity’s complying
  with its obligations under Rule 30(b)(6) by adopting the witness’s testimony in his individual
  capacity.”); Sabre v. First Dominion Capital, LLC, 2001 U.S. Dist. LEXIS 20637, at *3-*4
  (S.D.N.Y. Dec. 10, 2001) (“In the case of many closely held corporations, the knowledge of an
  individual concerning a particular subject also constitutes the total knowledge of the entity. In
  such a situation, the witness could simply adopt the testimony he or she provided in a former
  capacity, thereby obviating the need for a second deposition.”).

  Please be advised that Mr. Toberoff will not appear for four separate 7-hour depositions as
  noticed by DC, and DC’s attempt to get four bites at the proverbial apple is unreasonable, unduly
  burdensome and harassing.

  Defendants will move for a protective order pursuant to F.R.C.P. 26(c) to limit the deposition
  testimony of Mr. Toberoff, PPC, IPWW and IPW to a single day of seven hours, and hereby
  request a conference of counsel pursuant to L.R. 37-1 on this subject. Defendants are available
  today, as well as July 26-29 and August 1-4, 2011, to meet and confer.

  Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
  remedies, all of which are reserved.

  Very truly yours,


  Keith G. Adams




                                            EXHIBIT G
                                              218
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 54 of 122 Page
                                 ID #:22555




                  EXHIBIT H
Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12     Page 55 of 122 Page
                                     ID #:22556




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        Attorneys for Defendants Marc Toberoff,
    8 Pacific Pictures Corporation, IP
        Worldwide, LLC, and IPW, LLC
    9
                             UNITED STATES DISTRICT COURT
   10
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   11
        DC COMICS,                            Case No: CV 10-03633 ODW (RZx)
   12                   Plaintiff,
                                              Hon. Otis D. Wright II, U.S.D.J.
   13        vs.
                                              DEFENDANT PACIFIC
   14   PACIFIC PICTURES CORPORATION; PICTURES             CORPORATION’S
                                              RESPONSE TO PLAINTIFF DC
   15   IP WORLDWIDE, LLC; IPW, LLC;          COMICS’ FIRST SET OF
        MARC TOBEROFF, an individual;         INTERROGATORIES
   16   MARK WARREN Peary, as personal        Complaint Filed: May 14, 2010
        representative of the ESTATE OF       Trial Date: None Set
   17
        JOSEPH SHUSTER; JEAN ADELE
   18   PEAVY, an individual; LAURA
   19   SIEGEL LARSON, individually and as
        personal representative of the ESTATE
   20   OF JOANNE SIEGEL,
   21   and DOES 1-10, inclusive,
   22                  Defendants.
   23

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                      DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES


                                         EXHIBIT H
                                           219
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12            Page 56 of 122 Page
                                       ID #:22557




  1        Defendant Pacific Pictures Corporation (“PPC”), by and through its attorneys,
  2 responds as follows to the First Set of Interrogatories dated July 1, 2011 (the
  3 “Interrogatories”) propounded by plaintiff DC Comics (“Plaintiff” or “DC”).
  4                                             I.
  5                               GENERAL OBJECTIONS
  6        PPC objects to the entire set of Interrogatories on each of the following
  7 grounds, and incorporates by reference each of the following objections into its

  8 response to each individual interrogatory within it:
  9        1.     PPC objects to each Interrogatory to the extent it is relevant to the
 10 Fourth through Sixth state law claims for relief in DC’s First Amended Complaint
 11 (“FAC”). PPC contends that its pending anti-SLAPP motion stays discovery
 12 regarding these state law claims. See Cal. Code Civ. Proc. § 425.16(g); Shady Grove
 13 Orthopedic Assocs., P.A. v. Allstate Ins. Co., 130 S. Ct. 1431, 1452 (2010) (Stevens,
 14 J., concurring); Batzel v. Smith, 333 F.3d 1018, 1024 (9th Cir. 2003); Godin v.
 15 Schencks, 2010 U.S. App. LEXIS 25980 (1st Cir. Dec. 22, 2010).
 16        2.     PPC objects to the Interrogatories generally to the extent they exceed the
 17 scope of Rules 26 and 33 of the Federal Rules of Civil Procedure or the Local Rules
 18 of the United States District Court for the Central District of California.
 19        3.     PPC objects to the Interrogatories to the extent that they purport to
 20 demand information protected from disclosure by the attorney-client privilege, joint
 21 interest privilege, attorney work product doctrine or any other privileges or

 22 immunities provided by the rules of this Court, statute or agreement. Inadvertent
 23 disclosure of any information subject to any applicable privilege or doctrine is not

 24 intended to be and shall not operate as a waiver of any such privilege or doctrine, in
 25 whole or in part; nor is any such inadvertent disclosure intended to be, nor shall it
 26 constitute, a waiver of the right to object to any use of such information.
 27        4.     PPC objects to the Interrogatories to the extent that they seek
 28 information comprising or reflecting any trade secret or other confidential or

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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT H
                                           220
Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12            Page 57 of 122 Page
                                        ID #:22558




  1 proprietary information of PPC or any other entity or person.
  2         5.    PPC objects to the Interrogatories to the extent that they seek
  3 information which is protected from disclosure by court order, or any privacy or
  4 similar rights of any person or entity.
  5         6.    PPC objects to the Interrogatories to the extent that they seek
  6 information and/or documents already in the possession of the propounding party on
  7 the grounds such interrogatories are unnecessary and unduly oppressive and

  8 burdensome.
  9         7.    PPC objects generally to the definitions of the terms “YOU” and
 10 “YOUR” as vague and ambiguous, overbroad and unduly burdensome. PPC will
 11 construe these terms to refer to PPC.
 12         8.    PPC objects to the Interrogatories to the extent that they are vague or
 13 indefinite with respect to the information sought, or are overbroad and unduly
 14 burdensome.
 15         9.    PPC objects to the Interrogatories to the extent that they seek
 16 information which is neither relevant to the subject matter of the pending litigation

 17 nor reasonably calculated to lead to the discovery of admissible evidence.
 18         10.   No incidental or implied admissions are intended by PPC’s responses to
 19 the Interrogatories. The supplying of any fact does not constitute an admission by
 20 PPC that such fact is relevant or admissible. The fact that PPC has responded to any
 21 interrogatory is not intended to be and shall not be construed as a waiver by PPC of

 22 all or any part of any objection to any interrogatory. PPC reserves until the time of
 23 trial all objections as to the relevance or admissibility of any facts provided in its

 24 answers to the Interrogatories.
 25         11.   The general and specific objections set forth herein are based on
 26 information now available to PPC and PPC reserves the right to revise, correct, add,
 27 clarify or supplement the general and specific objections and responses set forth
 28 herein.

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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT H
                                            221
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 58 of 122 Page
                                       ID #:22559




  1                                             II.
  2                       RESPONSES TO INTERROGATORIES
  3        Subject to, and without waiving the General Objections and qualifications
  4 above, PPC responds to each individual Interrogatory as follows:
  5 Interrogatory No. 1

  6        DESCRIBE in detail all efforts YOU have made to MARKET any rights
  7 involving SUPERMAN and/or SUPERBOY.

  8 Response to Interrogatory No. 1
  9        PPC objects to this interrogatory on the grounds that it is overbroad,
 10 burdensome and oppressive. PPC further objects to this request on the grounds that it
 11 is not reasonably limited in scope. PPC objects to this request to the extent that it
 12 seeks information which is not reasonably calculated to lead to the discovery of
 13 relevant and admissible evidence. PPC additionally objects to this request to the
 14 extent that it seeks communications or items protected by the attorney-client
 15 privilege, the attorney work product doctrine and any other privilege or immunity
 16 available under law or arising from contractual obligation. Subject to and without

 17 waiving the foregoing general and specific objections, PPC responds, without
 18 limitation, as follows:
 19        None.
 20 Interrogatory No. 2
 21        IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
 22 connection with efforts to MARKET any rights involving SUPERMAN and/or
 23 SUPERBOY.

 24 Response to Interrogatory No. 2
 25        PPC objects to this interrogatory on the grounds that it is overbroad,
 26 burdensome and oppressive. PPC further objects to this request on the grounds that it
 27 is not reasonably limited in scope. PPC objects to this request to the extent that it
 28 seeks information which is not reasonably calculated to lead to the discovery of

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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT H
                                           222
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 59 of 122 Page
                                       ID #:22560




  1 relevant and admissible evidence. PPC additionally objects to this request to the
  2 extent that it seeks communications or items protected by the attorney-client
  3 privilege, the attorney work product doctrine and any other privilege or immunity
  4 available under law or arising from contractual obligation. Subject to and without
  5 waiving the foregoing general and specific objections, PPC responds, without

  6 limitation, as follows:
  7        None.
  8 Interrogatory No. 3
  9        DESCRIBE in detail when any efforts YOU have made to MARKET any
 10 rights involving SUPERMAN and/or SUPERBOY took place.
 11 Response to Interrogatory No. 3
 12        PPC objects to this interrogatory on the grounds that it is overbroad,
 13 burdensome and oppressive. PPC further objects to this request on the grounds that it
 14 is not reasonably limited in scope. PPC objects to this request to the extent that it
 15 seeks information which is not reasonably calculated to lead to the discovery of
 16 relevant and admissible evidence. PPC additionally objects to this request to the

 17 extent that it seeks communications or items protected by the attorney-client
 18 privilege, the attorney work product doctrine and any other privilege or immunity
 19 available under law or arising from contractual obligation. Subject to and without
 20 waiving the foregoing general and specific objections, PPC responds, without
 21 limitation, as follows:

 22        None.
 23 Interrogatory No. 4

 24        DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
 25 potential INVESTORS concerning rights involving SUPERMAN and/or
 26 SUPERBOY.
 27 Response to Interrogatory No. 4
 28        PPC objects to this interrogatory on the grounds that it is overbroad,

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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT H
                                           223
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 60 of 122 Page
                                       ID #:22561




  1 burdensome and oppressive. PPC further objects to this request on the grounds that it
  2 is not reasonably limited in scope. PPC objects to this request to the extent that it
  3 seeks information which is not reasonably calculated to lead to the discovery of
  4 relevant and admissible evidence. PPC additionally objects to this request to the
  5 extent that it seeks communications or items protected by the attorney-client

  6 privilege, the attorney work product doctrine and any other privilege or immunity
  7 available under law or arising from contractual obligation. Subject to and without

  8 waiving the foregoing general and specific objections, PPC responds, without
  9 limitation, as follows:
 10        None.
 11 Interrogatory No. 5
 12        IDENTIFY any PERSON with whom YOU have COMMUNICATED
 13 concerning actual and/or potential INVESTORS in rights involving SUPERMAN
 14 and/or SUPERBOY.
 15 Response to Interrogatory No. 5
 16        PPC objects to this interrogatory on the grounds that it is overbroad,
 17 burdensome and oppressive. PPC further objects to this request on the grounds that it
 18 is not reasonably limited in scope. PPC objects to this request to the extent that it
 19 seeks information which is not reasonably calculated to lead to the discovery of
 20 relevant and admissible evidence. PPC additionally objects to this request to the
 21 extent that it seeks communications or items protected by the attorney-client

 22 privilege, the attorney work product doctrine and any other privilege or immunity
 23 available under law or arising from contractual obligation. Subject to and without

 24 waiving the foregoing general and specific objections, PPC responds, without
 25 limitation, as follows:
 26        None.
 27 Interrogatory No. 6
 28        DESCRIBE in detail when YOU have COMMUNICATED with actual or

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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT H
                                           224
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 61 of 122 Page
                                       ID #:22562




  1 potential INVESTORS concerning rights involving SUPERMAN and/or
  2 SUPERBOY.
  3 Response to Interrogatory No. 6
  4        PPC objects to this interrogatory on the grounds that it is overbroad,
  5 burdensome and oppressive. PPC further objects to this request on the grounds that it

  6 is not reasonably limited in scope. PPC objects to this request to the extent that it
  7 seeks information which is not reasonably calculated to lead to the discovery of

  8 relevant and admissible evidence. PPC additionally objects to this request to the
  9 extent that it seeks communications or items protected by the attorney-client
 10 privilege, the attorney work product doctrine and any other privilege or immunity
 11 available under law or arising from contractual obligation. Subject to and without
 12 waiving the foregoing general and specific objections, PPC responds, without
 13 limitation, as follows:
 14        None.
 15   Dated: August 1, 2011               KENDALL BRILL & KLIEGER LLP
 16
                                          /s/ Nicholas F. Daum
 17
                                          Nicholas F. Daum
 18
                                          Attorneys for Defendants Marc Toberoff,
 19
                                          Pacific Pictures Corporation, IP
 20                                       Worldwide, LLC, and IPW, LLC
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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT H
                                           225
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12            Page 62 of 122 Page
                                       ID #:22563




  1                                     VERIFICATION
  2         I declare under penalty of perjury that on information and belief the facts set
  3 forth in the foregoing answers to the Interrogatories are true to the best of my present
  4 knowledge and belief.
  5
      DATED: August 1, 2011
  6
  7
      Marc Toberoff
      Print Name of Signatory                         Signature
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                    DEFENDANT PACIFIC PICTURES CORPORATION’S RESPONSE
                        TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT H
                                            226
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 63 of 122 Page
                                 ID #:22564




                    EXHIBIT I
Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12       Page 64 of 122 Page
                                     ID #:22565




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    8 Pacific Pictures Corporation, IP
        Worldwide, LLC, and IPW, LLC
    9
                             UNITED STATES DISTRICT COURT
   10
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   11
        DC COMICS,                            Case No: CV 10-03633 ODW (RZx)
   12                   Plaintiff,
                                              Hon. Otis D. Wright II, U.S.D.J.
   13        vs.
                                              DEFENDANT IP WORLDWIDE,
   14   PACIFIC PICTURES CORPORATION; LLC’S           RESPONSE TO
                                              PLAINTIFF DC COMICS’
   15   IP WORLDWIDE, LLC; IPW, LLC;          FIRST SET OF
        MARC TOBEROFF, an individual;         INTERROGATORIES
   16   MARK WARREN Peary, as personal        Complaint Filed: May 14, 2010
        representative of the ESTATE OF       Trial Date: None Set
   17
        JOSEPH SHUSTER; JEAN ADELE
   18   PEAVY, an individual; LAURA
   19   SIEGEL LARSON, individually and as
        personal representative of the ESTATE
   20   OF JOANNE SIEGEL,
   21   and DOES 1-10, inclusive,
   22                  Defendants.
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                           DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES


                                         EXHIBIT I
                                           227
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 65 of 122 Page
                                       ID #:22566




  1        Defendant IP Worldwide, LLC (“IPWW”), by and through its attorneys,
  2 responds as follows to the First Set of Interrogatories dated July 1, 2011 (the
  3 “Interrogatories”) propounded by plaintiff DC Comics (“Plaintiff” or “DC”).
  4                                             I.
  5                               GENERAL OBJECTIONS
  6        IPWW objects to the entire set of Interrogatories on each of the following
  7 grounds, and incorporates by reference each of the following objections into its

  8 response to each individual interrogatory within it:
  9        1.     IPWW objects to each Interrogatory to the extent it is relevant to the
 10 Fourth through Sixth state law claims for relief in DC’s First Amended Complaint
 11 (“FAC”). IPWW contends that its pending anti-SLAPP motion stays discovery
 12 regarding these state law claims. See Cal. Code Civ. Proc. § 425.16(g); Shady Grove
 13 Orthopedic Assocs., P.A. v. Allstate Ins. Co., 130 S. Ct. 1431, 1452 (2010) (Stevens,
 14 J., concurring); Batzel v. Smith, 333 F.3d 1018, 1024 (9th Cir. 2003); Godin v.
 15 Schencks, 2010 U.S. App. LEXIS 25980 (1st Cir. Dec. 22, 2010).
 16        2.     IPWW objects to the Interrogatories generally to the extent they exceed
 17 the scope of Rules 26 and 33 of the Federal Rules of Civil Procedure or the Local
 18 Rules of the United States District Court for the Central District of California.
 19        3.     IPWW objects to the Interrogatories to the extent that they purport to
 20 demand information protected from disclosure by the attorney-client privilege, joint
 21 interest privilege, attorney work product doctrine or any other privileges or

 22 immunities provided by the rules of this Court, statute or agreement. Inadvertent
 23 disclosure of any information subject to any applicable privilege or doctrine is not

 24 intended to be and shall not operate as a waiver of any such privilege or doctrine, in
 25 whole or in part; nor is any such inadvertent disclosure intended to be, nor shall it
 26 constitute, a waiver of the right to object to any use of such information.
 27        4.     IPWW objects to the Interrogatories to the extent that they seek
 28 information comprising or reflecting any trade secret or other confidential or

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                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT I
                                            228
Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12           Page 66 of 122 Page
                                        ID #:22567




  1 proprietary information of IPWW or any other entity or person.
  2         5.    IPWW objects to the Interrogatories to the extent that they seek
  3 information which is protected from disclosure by court order, or any privacy or
  4 similar rights of any person or entity.
  5         6.    IPWW objects to the Interrogatories to the extent that they seek
  6 information and/or documents already in the possession of the propounding party on
  7 the grounds such interrogatories are unnecessary and unduly oppressive and

  8 burdensome.
  9         7.    IPWW objects generally to the definitions of the terms “YOU” and
 10 “YOUR” as vague and ambiguous, overbroad and unduly burdensome. IPWW will
 11 construe these terms to refer to IPWW.
 12         8.    IPWW objects to the Interrogatories to the extent that they are vague or
 13 indefinite with respect to the information sought, or are overbroad and unduly
 14 burdensome.
 15         9.    IPWW objects to the Interrogatories to the extent that they seek
 16 information which is neither relevant to the subject matter of the pending litigation

 17 nor reasonably calculated to lead to the discovery of admissible evidence.
 18         10.   No incidental or implied admissions are intended by IPWW’s responses
 19 to the Interrogatories. The supplying of any fact does not constitute an admission by
 20 IPWW that such fact is relevant or admissible. The fact that IPWW has responded to
 21 any interrogatory is not intended to be and shall not be construed as a waiver by

 22 IPWW of all or any part of any objection to any interrogatory. IPWW reserves until
 23 the time of trial all objections as to the relevance or admissibility of any facts

 24 provided in its answers to the Interrogatories.
 25         11.   The general and specific objections set forth herein are based on
 26 information now available to IPWW and IPWW reserves the right to revise, correct,
 27 add, clarify or supplement the general and specific objections and responses set forth
 28 herein.

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                           DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                           EXHIBIT I
                                             229
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 67 of 122 Page
                                       ID #:22568




  1                                            II.
  2                       RESPONSES TO INTERROGATORIES
  3        Subject to, and without waiving the General Objections and qualifications
  4 above, IPWW responds to each individual Interrogatory as follows:
  5 Interrogatory No. 1

  6        DESCRIBE in detail all efforts YOU have made to MARKET any rights
  7 involving SUPERMAN and/or SUPERBOY.

  8 Response to Interrogatory No. 1
  9        IPWW objects to this interrogatory on the grounds that it is overbroad,
 10 burdensome and oppressive. IPWW further objects to this request on the grounds
 11 that it is not reasonably limited in scope. IPWW objects to this request to the extent
 12 that it seeks information which is not reasonably calculated to lead to the discovery
 13 of relevant and admissible evidence. IPWW additionally objects to this request to the
 14 extent that it seeks communications or items protected by the attorney-client
 15 privilege, the attorney work product doctrine and any other privilege or immunity
 16 available under law or arising from contractual obligation. Subject to and without

 17 waiving the foregoing general and specific objections, IPWW responds, without
 18 limitation, as follows:
 19        Ari Emanuel and Marc Toberoff engaged in negotiations with Warner Bros.
 20 Entertainment Inc. regarding the sale and/or license of Joanne Siegel and Laura
 21 Siegel Larson’s (the “Siegels”) rights in Superman and Superboy to Warner. Warner

 22 proposed terms that were virtually identical to its settlement proposal to the Siegels in
 23 2001-2002. The Siegels once again rejected such proposals.

 24 Interrogatory No. 2
 25        IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
 26 connection with efforts to MARKET any rights involving SUPERMAN and/or
 27 SUPERBOY.
 28 Response to Interrogatory No. 2

                                               3
                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT I
                                            230
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12          Page 68 of 122 Page
                                       ID #:22569




  1        IPWW objects to this interrogatory on the grounds that it is overbroad,
  2 burdensome and oppressive. IPWW further objects to this request on the grounds
  3 that it is not reasonably limited in scope. IPWW objects to this request to the extent
  4 that it seeks information which is not reasonably calculated to lead to the discovery
  5 of relevant and admissible evidence. IPWW additionally objects to this request to the

  6 extent that it seeks communications or items protected by the attorney-client
  7 privilege, the attorney work product doctrine and any other privilege or immunity

  8 available under law or arising from contractual obligation. Subject to and without
  9 waiving the foregoing general and specific objections, IPWW responds, without
 10 limitation, as follows:
 11        Warner Bros. Entertainment Inc. and its then General Counsel, John Schulman,
 12 4000 Warner Boulevard, Burbank, California, 91522.
 13        Laura Siegel Larson, 6400 Pacific Avenue, Suite 106, Playa del Rey, CA
 14 90293.
 15        Joanne Siegel, deceased.
 16 Interrogatory No. 3

 17        DESCRIBE in detail when any efforts YOU have made to MARKET any
 18 rights involving SUPERMAN and/or SUPERBOY took place.
 19 Response to Interrogatory No. 3
 20        IPWW objects to this interrogatory on the grounds that it is overbroad,
 21 burdensome and oppressive. IPWW further objects to this request on the grounds

 22 that it is not reasonably limited in scope. IPWW objects to this request to the extent
 23 that it seeks information which is not reasonably calculated to lead to the discovery

 24 of relevant and admissible evidence. IPWW additionally objects to this request to the
 25 extent that it seeks communications or items protected by the attorney-client
 26 privilege, the attorney work product doctrine and any other privilege or immunity
 27 available under law or arising from contractual obligation. Subject to and without
 28 waiving the foregoing general and specific objections, IPWW responds, without

                                               4
                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT I
                                           231
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12          Page 69 of 122 Page
                                       ID #:22570




  1 limitation, as follows:
  2        From 2003 through September 2004, mostly in July-early September 2004.
  3 Interrogatory No. 4
  4        DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
  5 potential INVESTORS concerning rights involving SUPERMAN and/or

  6 SUPERBOY.
  7 Response to Interrogatory No. 4

  8        IPWW objects to this interrogatory on the grounds that it is overbroad,
  9 burdensome and oppressive. IPWW further objects to this request on the grounds
 10 that it is not reasonably limited in scope. IPWW objects to this request to the extent
 11 that it seeks information which is not reasonably calculated to lead to the discovery
 12 of relevant and admissible evidence. IPWW additionally objects to this request to the
 13 extent that it seeks communications or items protected by the attorney-client
 14 privilege, the attorney work product doctrine and any other privilege or immunity
 15 available under law or arising from contractual obligation. Subject to and without
 16 waiving the foregoing general and specific objections, IPWW responds, without

 17 limitation, as follows:
 18        None.
 19 Interrogatory No. 5
 20        IDENTIFY any PERSON with whom YOU have COMMUNICATED
 21 concerning actual or potential INVESTORS in rights involving SUPERMAN and/or

 22 SUPERBOY.
 23 Response to Interrogatory No. 5

 24        IPWW objects to this interrogatory on the grounds that it is overbroad,
 25 burdensome and oppressive. IPWW further objects to this request on the grounds
 26 that it is not reasonably limited in scope. IPWW objects to this request to the extent
 27 that it seeks information which is not reasonably calculated to lead to the discovery
 28 of relevant and admissible evidence. IPWW additionally objects to this request to the

                                               5
                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT I
                                           232
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12          Page 70 of 122 Page
                                       ID #:22571




  1 extent that it seeks communications or items protected by the attorney-client
  2 privilege, the attorney work product doctrine and any other privilege or immunity
  3 available under law or arising from contractual obligation. Subject to and without
  4 waiving the foregoing general and specific objections, IPWW responds, without
  5 limitation, as follows:

  6        None.
  7 Interrogatory No. 6

  8        DESCRIBE in detail when YOU have COMMUNICATED with actual or
  9 potential INVESTORS concerning rights involving SUPERMAN and/or
 10 SUPERBOY.
 11 Response to Interrogatory No. 6
 12        IPWW objects to this interrogatory on the grounds that it is overbroad,
 13 burdensome and oppressive. IPWW further objects to this request on the grounds
 14 that it is not reasonably limited in scope. IPWW objects to this request to the extent
 15 that it seeks information which is not reasonably calculated to lead to the discovery
 16 of relevant and admissible evidence. IPWW additionally objects to this request to the

 17 extent that it seeks communications or items protected by the attorney-client
 18 privilege, the attorney work product doctrine and any other privilege or immunity
 19 available under law or arising from contractual obligation. Subject to and without
 20 waiving the foregoing general and specific objections, IPWW responds, without
 21 limitation, as follows:

 22        None.
 23   Dated: August 1, 2011              KENDALL BRILL & KLIEGER LLP
 24
                                         /s/ Nicholas F. Daum
 25
                                         Nicholas F. Daum
 26
                                         Attorneys for Defendants Marc Toberoff,
 27
                                         Pacific Pictures Corporation, IP
 28                                      Worldwide, LLC, and IPW, LLC

                                               6
                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT I
                                           233
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12            Page 71 of 122 Page
                                       ID #:22572




  1                                     VERIFICATION
  2         I declare under penalty of perjury that on information and belief the facts set
  3 forth in the foregoing answers to the Interrogatories are true to the best of my present
  4 knowledge and belief.
  5
      DATED: August 1, 2011
  6
  7
      Marc Toberoff
      Print Name of Signatory                         Signature
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                          DEFENDANT IP WORLDWIDE, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT I
                                            234
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 72 of 122 Page
                                 ID #:22573




                   EXHIBIT J
Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12       Page 73 of 122 Page
                                     ID #:22574




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    7
        Attorneys for Defendants Marc Toberoff,
    8 Pacific Pictures Corporation, IP
        Worldwide, LLC, and IPW, LLC
    9
                             UNITED STATES DISTRICT COURT
   10
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   11
        DC COMICS,                            Case No: CV 10-03633 ODW (RZx)
   12                   Plaintiff,
                                              Hon. Otis D. Wright II, U.S.D.J.
   13        vs.
                                              DEFENDANT IPW, LLC’S
   14   PACIFIC PICTURES CORPORATION; RESPONSE             TO PLAINTIFF DC
                                              COMICS’ FIRST SET OF
   15   IP WORLDWIDE, LLC; IPW, LLC;          INTERROGATORIES
        MARC TOBEROFF, an individual;         Complaint Filed: May 14, 2010
   16   MARK WARREN Peary, as personal        Trial Date: None Set
   17   representative of the ESTATE OF
        JOSEPH SHUSTER; JEAN ADELE
   18   PEAVY, an individual; LAURA
   19   SIEGEL LARSON, individually and as
        personal representative of the ESTATE
   20   OF JOANNE SIEGEL,
   21   and DOES 1-10, inclusive,
   22                  Defendants.
   23

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                                DEFENDANT IPW, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES


                                         EXHIBIT J
                                           235
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12            Page 74 of 122 Page
                                       ID #:22575




  1        Defendant IPW, LLC (“IPW”), by and through its attorneys, responds as
  2 follows to the First Set of Interrogatories dated July 1, 2011 (the “Interrogatories”)
  3 propounded by plaintiff DC Comics (“Plaintiff” or “DC”).
  4                                             I.
  5                               GENERAL OBJECTIONS
  6        IPW objects to the entire set of Interrogatories on each of the following
  7 grounds, and incorporates by reference each of the following objections into its

  8 response to each individual interrogatory within it:
  9        1.     IPW objects to each Interrogatory to the extent it is relevant to the
 10 Fourth through Sixth state law claims for relief in DC’s First Amended Complaint
 11 (“FAC”). IPW contends that its pending anti-SLAPP motion stays discovery
 12 regarding these state law claims. See Cal. Code Civ. Proc. § 425.16(g); Shady Grove
 13 Orthopedic Assocs., P.A. v. Allstate Ins. Co., 130 S. Ct. 1431, 1452 (2010) (Stevens,
 14 J., concurring); Batzel v. Smith, 333 F.3d 1018, 1024 (9th Cir. 2003); Godin v.
 15 Schencks, 2010 U.S. App. LEXIS 25980 (1st Cir. Dec. 22, 2010).
 16        2.     IPW objects to the Interrogatories generally to the extent they exceed the
 17 scope of Rules 26 and 33 of the Federal Rules of Civil Procedure or the Local Rules
 18 of the United States District Court for the Central District of California.
 19        3.     IPW objects to the Interrogatories to the extent that they purport to
 20 demand information protected from disclosure by the attorney-client privilege, joint
 21 interest privilege, attorney work product doctrine or any other privileges or

 22 immunities provided by the rules of this Court, statute or agreement. Inadvertent
 23 disclosure of any information subject to any applicable privilege or doctrine is not

 24 intended to be and shall not operate as a waiver of any such privilege or doctrine, in
 25 whole or in part; nor is any such inadvertent disclosure intended to be, nor shall it
 26 constitute, a waiver of the right to object to any use of such information.
 27        4.     IPW objects to the Interrogatories to the extent that they seek
 28 information comprising or reflecting any trade secret or other confidential or

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                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT J
                                            236
Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12            Page 75 of 122 Page
                                        ID #:22576




  1 proprietary information of IPW or any other entity or person.
  2         5.    IPW objects to the Interrogatories to the extent that they seek
  3 information which is protected from disclosure by court order, or any privacy or
  4 similar rights of any person or entity.
  5         6.    IPW objects to the Interrogatories to the extent that they seek
  6 information and/or documents already in the possession of the propounding party on
  7 the grounds such interrogatories are unnecessary and unduly oppressive and

  8 burdensome.
  9         7.    IPW objects generally to the definitions of the terms “YOU” and
 10 “YOUR” as vague and ambiguous, overbroad and unduly burdensome. IPW will
 11 construe these terms to refer to IPW.
 12         8.    IPW objects to the Interrogatories to the extent that they are vague or
 13 indefinite with respect to the information sought, or are overbroad and unduly
 14 burdensome.
 15         9.    IPW objects to the Interrogatories to the extent that they seek
 16 information which is neither relevant to the subject matter of the pending litigation

 17 nor reasonably calculated to lead to the discovery of admissible evidence.
 18         10.   No incidental or implied admissions are intended by IPW’s responses to
 19 the Interrogatories. The supplying of any fact does not constitute an admission by
 20 IPW that such fact is relevant or admissible. The fact that IPW has responded to any
 21 interrogatory is not intended to be and shall not be construed as a waiver by IPW of

 22 all or any part of any objection to any interrogatory. IPW reserves until the time of
 23 trial all objections as to the relevance or admissibility of any facts provided in its

 24 answers to the Interrogatories.
 25         11.   The general and specific objections set forth herein are based on
 26 information now available to IPW and IPW reserves the right to revise, correct, add,
 27 clarify or supplement the general and specific objections and responses set forth
 28 herein.

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                                DEFENDANT IPW, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT J
                                            237
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 76 of 122 Page
                                       ID #:22577




  1                                            II.
  2                       RESPONSES TO INTERROGATORIES
  3        Subject to, and without waiving the General Objections and qualifications
  4 above, IPW responds to each individual Interrogatory as follows:
  5 Interrogatory No. 1

  6        DESCRIBE in detail all efforts YOU have made to MARKET any rights
  7 involving SUPERMAN and/or SUPERBOY.

  8 Response to Interrogatory No. 1
  9        IPW objects to this interrogatory on the grounds that it is overbroad,
 10 burdensome and oppressive. IPW further objects to this request on the grounds that it
 11 is not reasonably limited in scope. IPW objects to this request to the extent that it
 12 seeks information which is not reasonably calculated to lead to the discovery of
 13 relevant and admissible evidence. IPW additionally objects to this request to the
 14 extent that it seeks communications or items protected by the attorney-client
 15 privilege, the attorney work product doctrine and any other privilege or immunity
 16 available under law or arising from contractual obligation. Subject to and without

 17 waiving the foregoing general and specific objections, IPW responds, without
 18 limitation, as follows:
 19        None.
 20 Interrogatory No. 2
 21        IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
 22 connection with efforts to MARKET any rights involving SUPERMAN and/or
 23 SUPERBOY.

 24 Response to Interrogatory No. 2
 25        IPW objects to this interrogatory on the grounds that it is overbroad,
 26 burdensome and oppressive. IPW further objects to this request on the grounds that it
 27 is not reasonably limited in scope. IPW objects to this request to the extent that it
 28 seeks information which is not reasonably calculated to lead to the discovery of

                                               3
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT J
                                           238
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 77 of 122 Page
                                       ID #:22578




  1 relevant and admissible evidence. IPW additionally objects to this request to the
  2 extent that it seeks communications or items protected by the attorney-client
  3 privilege, the attorney work product doctrine and any other privilege or immunity
  4 available under law or arising from contractual obligation. Subject to and without
  5 waiving the foregoing general and specific objections, IPW responds, without

  6 limitation, as follows:
  7        None.
  8 Interrogatory No. 3
  9        DESCRIBE in detail when any efforts YOU have made to MARKET any
 10 rights involving SUPERMAN and/or SUPERBOY took place.
 11 Response to Interrogatory No. 3
 12        IPW objects to this interrogatory on the grounds that it is overbroad,
 13 burdensome and oppressive. IPW further objects to this request on the grounds that it
 14 is not reasonably limited in scope. IPW objects to this request to the extent that it
 15 seeks information which is not reasonably calculated to lead to the discovery of
 16 relevant and admissible evidence. IPW additionally objects to this request to the

 17 extent that it seeks communications or items protected by the attorney-client
 18 privilege, the attorney work product doctrine and any other privilege or immunity
 19 available under law or arising from contractual obligation. Subject to and without
 20 waiving the foregoing general and specific objections, IPW responds, without
 21 limitation, as follows:

 22        None.
 23 Interrogatory No. 4

 24        DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
 25 potential INVESTORS concerning rights involving SUPERMAN and/or
 26 SUPERBOY.
 27 Response to Interrogatory No. 4
 28        IPW objects to this interrogatory on the grounds that it is overbroad,

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                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT J
                                           239
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 78 of 122 Page
                                       ID #:22579




  1 burdensome and oppressive. IPW further objects to this request on the grounds that it
  2 is not reasonably limited in scope. IPW objects to this request to the extent that it
  3 seeks information which is not reasonably calculated to lead to the discovery of
  4 relevant and admissible evidence. IPW additionally objects to this request to the
  5 extent that it seeks communications or items protected by the attorney-client

  6 privilege, the attorney work product doctrine and any other privilege or immunity
  7 available under law or arising from contractual obligation. Subject to and without

  8 waiving the foregoing general and specific objections, IPW responds, without
  9 limitation, as follows:
 10        None.
 11 Interrogatory No. 5
 12        IDENTIFY any PERSON with whom YOU have COMMUNICATED
 13 concerning actual and/or potential INVESTORS in rights involving SUPERMAN
 14 and/or SUPERBOY.
 15 Response to Interrogatory No. 5
 16        IPW objects to this interrogatory on the grounds that it is overbroad,
 17 burdensome and oppressive. IPW further objects to this request on the grounds that it
 18 is not reasonably limited in scope. IPW objects to this request to the extent that it
 19 seeks information which is not reasonably calculated to lead to the discovery of
 20 relevant and admissible evidence. IPW additionally objects to this request to the
 21 extent that it seeks communications or items protected by the attorney-client

 22 privilege, the attorney work product doctrine and any other privilege or immunity
 23 available under law or arising from contractual obligation. Subject to and without

 24 waiving the foregoing general and specific objections, IPW responds, without
 25 limitation, as follows:
 26        None.
 27 Interrogatory No. 6
 28        DESCRIBE in detail when YOU have COMMUNICATED with actual or

                                               5
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT J
                                           240
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12           Page 79 of 122 Page
                                       ID #:22580




  1 potential INVESTORS concerning rights involving SUPERMAN and/or
  2 SUPERBOY.
  3 Response to Interrogatory No. 6
  4        IPW objects to this interrogatory on the grounds that it is overbroad,
  5 burdensome and oppressive. IPW further objects to this request on the grounds that it

  6 is not reasonably limited in scope. IPW objects to this request to the extent that it
  7 seeks information which is not reasonably calculated to lead to the discovery of

  8 relevant and admissible evidence. IPW additionally objects to this request to the
  9 extent that it seeks communications or items protected by the attorney-client
 10 privilege, the attorney work product doctrine and any other privilege or immunity
 11 available under law or arising from contractual obligation. Subject to and without
 12 waiving the foregoing general and specific objections, IPW responds, without
 13 limitation, as follows:
 14        None.
 15   Dated: August 1, 2011               KENDALL BRILL & KLIEGER LLP
 16
                                          /s/ Nicholas F. Daum
 17
                                          Nicholas F. Daum
 18
                                          Attorneys for Defendants Marc Toberoff,
 19
                                          Pacific Pictures Corporation, IP
 20                                       Worldwide, LLC, and IPW, LLC
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                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT J
                                           241
Case 2:10-cv-03633-ODW-RZ         Document 357-4 Filed 01/03/12            Page 80 of 122 Page
                                       ID #:22581




  1                                     VERIFICATION
  2         I declare under penalty of perjury that on information and belief the facts set
  3 forth in the foregoing answers to the Interrogatories are true to the best of my present
  4 knowledge and belief.
  5
      DATED: August 1, 2011
  6
  7
      Marc Toberoff
      Print Name of Signatory                         Signature
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                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                          EXHIBIT J
                                            242
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 81 of 122 Page
                                 ID #:22582




                  EXHIBIT K
Case 2:10-cv-03633-ODW-RZ       Document 357-4 Filed 01/03/12         Page 82 of 122 Page
                                     ID #:22583



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11   Attorneys for Plaintiff DC Comics
12
                        UNITED STATES DISTRICT COURT
13
                       CENTRAL DISTRICT OF CALIFORNIA
14
     DC COMICS,                                  Case No. CV-10-3633 ODW (RZx)
15
                       Plaintiff,                DISCOVERY MATTER
16
           v.                                    PLAINTIFF DC COMICS’
17                                               SECOND SET OF
     PACIFIC PICTURES                            INTERROGATORIES TO
18   CORPORATION, IP WORLDWIDE,                  DEFENDANT MARC TOBEROFF
     LLC, IPW, LLC, MARC TOBEROFF,
19   an individual, MARK WARREN                  Judge: Hon. Otis D. Wright II
     PEARY, as personal representative of        Magistrate: Hon. Ralph Zarefsky
20   the ESTATE OF JOSEPH SHUSTER,
     JEAN ADELE PEAVY, an individual,
21   LAURA SIEGEL LARSON, an
     individual and as personal
22   representative of the ESTATE OF
     JOANNE SIEGEL, and DOES 1-10,
23   inclusive,
24                     Defendants.
25
     PROPOUNDING PARTY:              Plaintiff DC Comics
26
     RESPONDING PARTY:               Defendant Marc Toberoff
27
     SET NUMBER:                     Second (Interrogatory Nos. 26-31)
28
                                                           PL.’S SECOND SET OF INTERROGS.
                                                                   TO DEF. MARC TOBEROFF

                                       EXHIBIT K
                                         243
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12         Page 83 of 122 Page
                                      ID #:22584



 1         Pursuant to Federal Rule of Civil Procedure 33, plaintiff DC Comics hereby
 2   requests that defendant Marc Toberoff respond in writing and under oath to the
 3   following Second Set of Interrogatories (“Interrogatories”), in accordance with the
 4   definitions and instructions contained herein, by no later than September 2, 2011.
 5                         DEFINITIONS AND INSTRUCTIONS
 6         1.      “COMMUNICATION” means all written, electronic, oral,
 7   telephonic, gesture, or other transmission or exchange of information, including
 8   without limitation any inquiry, request, dialogue, discussion, conversation,
 9   interview, correspondence, letter, note, consultation, negotiation, agreement,
10   understanding, meeting, e-mail, and all documents evidencing any verbal or
11   nonverbal interaction between any individuals or entities.
12         2.     “PERSON” means any natural person, firm, association, corporation,
13   partnership, or other legal entity or organization separately identifiable, and any
14   department(s) or division(s) therein.
15         3.     “DESCRIBE” means to set forth fully and in detail all factual
16   information and data that are responsive to the particular request seeking such
17   statement or description.
18         4.     “YOU” or “YOUR” means Marc Toberoff and, as applicable, any
19   PERSON acting on his behalf, including but not limited to his agents, employees,
20   attorneys, and representatives.
21         5.     “MARKET” means to any effort to promote, arrange, or negotiate
22   the sale, assignment, lease, license, or any other disposition or exploitation of
23   rights or property.
24         6.     “INVESTOR” means any PERSON or entity that provides money or
25   other capital in exchange for rights or property, including but not limited to an
26   investment bank, private equity firm, hedge fund, venture capital firm, mutual
27   fund, motion picture studio, entertainment production company, or individual.
28
                                                             PL.’S SECOND SET OF INTERROGS.
                                              -1-
                                                                     TO DEF. MARC TOBEROFF
                                        EXHIBIT K
                                          244
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12            Page 84 of 122 Page
                                      ID #:22585



 1         7.    “SUPERMAN” means the Superman character as delineated in
 2   literary works such as comic books, newspapers, novels, radio programs,
 3   television programs, and motion pictures, and any of the works in which he
 4   appears, including but not limited to Action Comics. No. 1.
 5         8.    “SUPERBOY” means the Superboy character as delineated in
 6   literary works such as comic books, newspapers, novels, radio programs,
 7   television programs, and motion pictures, and any of the works in which he
 8   appears, including but not limited to More Fun Comics No. 101.
 9         9.    “IDENTIFY” means the following:
10               a.     When used in reference to a PERSON, it means to state the
11                      person’s full name, present or last known address, and present or
12                      last known business affiliation and business address;
13               b.     When used in reference to an organization, it means to state the
14                      organization’s full name and, if it is a corporation, partnership,
15                      or other business entity, the address of its principal place of
16                      business;
17               c.     When used in reference to a DOCUMENT, it means to state, to
18                      the extent known, the DOCUMENT’S (i) type (i.e. letter, memo,
19                      note, e-mail); (ii) subject matter; (iii) current location; (iv) every
20                      author, recipient or addressee; and (v) the bates number of the
21                      DOCUMENT if simultaneously or previously produced in this
22                      or any related action.
23               d.     When used in reference to a COMMUNICATION, it means to
24                      state, to the extent known, the COMMUNICATION’S (i) date;
25                      (ii) type (i.e. oral, telephonic, e-mail); (iii) subject matter; (iv)
26                      every author, recipient or addressee; and (v) the bates number of
27                      the DOCUMENT if simultaneously or previously produced in
28                      this or any related action.
                                                              PL.’S SECOND SET OF INTERROGS.
                                              -2-
                                                                      TO DEF. MARC TOBEROFF
                                         EXHIBIT K
                                           245
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12           Page 85 of 122 Page
                                      ID #:22586



 1         10.   “INCLUDING” means “including, but not limited to.”
 2         11.   “Any” and “All” are interchangeable.
 3         12.   The singular form includes the plural form, and vice versa.
 4         13.   Each answer must be as complete and straightforward as the
 5   information reasonably available to YOU permits. If an Interrogatory cannot be
 6   answered completely, answer it to the extent possible.
 7         14.   Whenever an Interrogatory may be answered by referring to a
 8   DOCUMENT, the DOCUMENT may be attached as an exhibit to the response
 9   and referred to in the response. If the DOCUMENT has more than one page,
10   refer to the page and section where the answer to the Interrogatory can be found.
11         15.   Federal Rule of Civil Procedure 33 provides these instructions,
12   which YOU must follow when responding to these Interrogatories:
13               a.     Each interrogatory shall be answered separately and fully in
14                      writing under oath, unless it is objected to, in which event the
15                      objecting party shall state the reasons for objection and shall
16                      answer to the extent the interrogatory is not objectionable.
17               b.     The answers are to be signed by the person making them, and
18                      the objections signed by the attorney making them.
19               c.     The party upon whom the interrogatories have been served shall
20                      serve a copy of the answers, and objections if any, within 30
21                      days after the service of the interrogatories.
22               d.     All grounds for an objection to an interrogatory shall be stated
23                      with specificity. Any ground not stated in a timely objection is
24                      waived unless the party’s failure to object is excused by the
25                      court for good cause shown.
26               e.     The party submitting the interrogatories may move for an order
27                      under Rule 37(a) with respect to any objection to or other failure
28                      to answer an interrogatory.
                                                            PL.’S SECOND SET OF INTERROGS.
                                             -3-
                                                                    TO DEF. MARC TOBEROFF
                                        EXHIBIT K
                                          246
Case 2:10-cv-03633-ODW-RZ        Document 357-4 Filed 01/03/12        Page 86 of 122 Page
                                      ID #:22587



 1         16.    Each Interrogatory shall be construed independently and no
 2   Interrogatory shall be viewed as limiting the scope of any other Interrogatory.
 3         17.    These Interrogatories impose a continuing obligation subsequent to
 4   YOUR initial responses to timely supplement YOUR responses if YOU
 5   determine that any response is incomplete or incorrect.
 6                                INTERROGATORIES
 7   Interrogatory No. 26
 8         DESCRIBE in detail all efforts YOU have made to MARKET any rights
 9   involving SUPERMAN and/or SUPERBOY.
10   Interrogatory No. 27
11         IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
12   connection with efforts to MARKET any rights involving SUPERMAN and/or
13   SUPERBOY.
14   Interrogatory No. 28
15         DESCRIBE in detail when any efforts YOU have made to MARKET any
16   rights involving SUPERMAN and/or SUPERBOY took place.
17   Interrogatory No. 29
18         DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
19   potential INVESTORS concerning rights involving SUPERMAN and/or
20   SUPERBOY.
21   Interrogatory No. 30
22         IDENTIFY any PERSON with whom YOU have COMMUNICATED
23   concerning actual or potential INVESTORS in rights involving SUPERMAN
24   and/or SUPERBOY.
25   Interrogatory No. 31
26         DESCRIBE in detail when YOU have COMMUNICATED with actual or
27   potential INVESTORS concerning rights involving SUPERMAN and/or
28   SUPERBOY.
                                                           PL.’S SECOND SET OF INTERROGS.
                                             -4-
                                                                   TO DEF. MARC TOBEROFF
                                        EXHIBIT K
                                          247
Case 2:10-cv-03633-ODW-RZ    Document 357-4 Filed 01/03/12     Page 87 of 122 Page
                                  ID #:22588



 1
 2   Dated: August 3, 2011                 Respectfully submitted,
 3                                         O’MELVENY & MYERS LLP
 4
                                           By: /s/ Daniel M. Petrocelli
 5                                                 Daniel M. Petrocelli
 6                                         Attorneys for Plaintiff DC Comics
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                                                     PL.’S SECOND SET OF INTERROGS.
                                        -5-
                                                             TO DEF. MARC TOBEROFF
                                  EXHIBIT K
                                    248
Case 2:10-cv-03633-ODW-RZ     Document 357-4 Filed 01/03/12    Page 88 of 122 Page
                                   ID #:22589



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11   Attorneys for Plaintiff DC COMICS
12
                       UNITED STATES DISTRICT COURT
13
                      CENTRAL DISTRICT OF CALIFORNIA
14
     DC COMICS,                               Case No. CV 10-3633 ODW (RZx)
15
                      Plaintiff,              PROOF OF SERVICE
16
          v.                                  Hon. Otis D. Wright, II
17
     PACIFIC PICTURES CORPORATION,
18   IP WORLDWIDE, LLC, IPW, LLC,
     MARC TOBEROFF, an individual,
19   MARK WARREN PEARY, as personal
     representative of the ESTATE OF
20   JOSEPH SHUSTER, JEAN ADELE
     PEAVY, an individual, LAURA
21   SIEGEL LARSON, an individual and as
     personal representative of the ESTATE
22   OF JOANNE SIEGEL, and DOES 1-10,
     inclusive,
23
24                           Defendants.
25
26
27
28

                                                                  PROOF OF SERVICE

                                   EXHIBIT K
                                     249
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 89 of 122 Page
                                 ID #:22590




                                 EXHIBIT K
                                   250
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 90 of 122 Page
                                 ID #:22591




                   EXHIBIT L
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12              Page 91 of 122 Page
                                          ID #:22592




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  NEW YORK




                                                                                          OUR FILE NUMBER
  August 3, 2011                                                                               905,900-321

  VIA E-MAIL                                                                           WRITER’S DIRECT DIAL
                                                                                            (310) 246-6840
  Marc Toberoff
                                                                                    WRITER’S E-MAIL ADDRESS
  Toberoff & Associates, P.C.
                                                                                     mkline@omm.com
  2049 Century Park East, Suite 3630
  Los Angeles, California 90067

  Laura Brill
  Kendall Brill & Klieger LLP
  10100 Santa Monica Boulevard, Suite 1725
  Los Angeles, California 90067

                  Re:    DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

          I write to follow up on the responses and objections served on August 1 by defendants
  Pacific Pictures Corporation, IP Worldwide, and IPW to Plaintiff DC Comics’ First Set Of
  Interrogatories. Every response of PPC, IPWW, and IPW is subject to a General Objection “to
  the Interrogatories to the extent that they purport to demand information protected from
  disclosure by the attorney-client privilege, joint interest privilege, attorney work product doctrine
  or any other privileges….” Likewise, all six responses by each company are individually made
  “[s]ubject to” a privilege objection.

          Although you went on to respond to each request, it is unclear whether those responses
  withhold any further information based on the asserted privilege. Any such withholding is
  improper, as the interrogatories all deal with efforts to market purported rights to third parties or
  communications with potential third-party investors. See U.S. v. Martin, 278 F.3d 988, 999-1000
  (9th Cir. 2002). None of the interrogatories seeks the substance of communications between an
  attorney and client, and none could, as PPC “is not a law firm,” 2003 PPC Agreement ¶ 2, and
  both IPWW and IPW are limited liability companies owned by PPC, Ari Emanuel, and
  Endeavor, EN 00002-13, none of which is an attorney. As the interrogatory responses from Mr.
  Toberoff's business entities disclosed no such communications, we need responses from Mr.
  Toberoff himself. Please confirm immediately that no information has been withheld on the
  basis of privilege.




                                             EXHIBIT L
                                               251
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 92 of 122 Page
                                         ID #:22593


  August 3, 2011 - Page 2



          Additionally, we have attached Plaintiff DC Comics’ Second Set Of Interrogatories To
  Defendant Marc Toberoff, which pose the exact same questions to him as were posed to his
  business entities. During our June 13 meet-and-confer call, and as confirmed in my July 7 letter,
  I asked Mr. Toberoff about his communications with actual or potential investors, and he refused
  to respond, advising DC to serve interrogatories on the subject. Please confirm immediately that
  you will respond to these simple interrogatories by the date listed.

        We are available this week to meet and confer, if necessary, to discuss any issues you
  have with the above.

                                                  Very truly yours,



                                                  Matthew T. Kline
                                                  of O’MELVENY & MYERS LLP


  Enclosure




                                           EXHIBIT L
                                             252
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 93 of 122 Page
                                 ID #:22594




                  EXHIBIT M
        Case 2:10-cv-03633-ODW-RZ              Document 357-4 Filed 01/03/12             Page 94 of 122 Page
                                                    ID #:22595

                                  TOBEROFF & ASSOCIATES, P.C.
                                                   A PROFESSIONAL CORPORATION


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MARC TOBEROFF*                                LOS ANGELES, CALIFORNIA 90067                                      TELEPHONE
NICHOLAS C. WILLIAMSON                                                                                         (310) 246-3333
KEITH G. ADAMS
JEFFREY R. RHOADS                                                                                                 FACSIMILE
                                                                                                               (310) 246-3101
* Also admitted in New York
                                                                                                          mtoberoff@ipwla.com


            August 10, 2011

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Matt:

            I write in response to your August 3, 2011 letter regarding the responses of defendants Pacific
            Pictures Corporation, IP Worldwide, LLC, and IPW, LLC to DC’s interrogatories.

            In answer to DC’s question, and as is clear from defendants’ interrogatory responses, no
            responsive information concerning efforts to market purported rights to third parties or
            communications with potential third-party investors was withheld on the basis of privilege.

            As to DC’s second set of interrogatories to Mr. Toberoff, we will respond/object to the
            interrogatories pursuant to and consistent with the Federal Rules of Civil Procedure.

            Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
            remedies, all of which are reserved.

            Very truly yours,


            Keith Adams




                                                      EXHIBIT M
                                                        253
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 95 of 122 Page
                                 ID #:22596




                  EXHIBIT N
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 96 of 122 Page
                                 ID #:22597




                                 EXHIBIT N
                                   254
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 97 of 122 Page
                                 ID #:22598




                                 EXHIBIT N
                                   255
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 98 of 122 Page
                                 ID #:22599




                                 EXHIBIT N
                                   256
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 99 of 122 Page
                                 ID #:22600




                  EXHIBIT O
Case 2:10-cv-03633-ODW-RZ          Document 357-4 Filed 01/03/12      Page 100 of 122
                                    Page ID #:22601




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 7 Attorneys for Defendants Marc Toberoff,
     Pacific Pictures Corporation, IP
 8 Worldwide, LLC, and IPW, LLC
 9                          UNITED STATES DISTRICT COURT
10         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
11   DC COMICS,                            Case No: CV 10-03633 ODW (RZx)
                     Plaintiff,
12                                         Hon. Otis D. Wright II, U.S.D.J.
          vs.
13                                         DEFENDANT MARC
     PACIFIC PICTURES CORPORATION; TOBEROFF’S             RESPONSE TO
                                           PLAINTIFF DC COMICS’
14
     IP WORLDWIDE, LLC; IPW, LLC;          SECOND SET OF
15   MARC TOBEROFF, an individual;         INTERROGATORIES
     MARK WARREN PEARY, as personal Complaint Filed: May 14, 2010
16                                         Trial Date: None Set
     representative of the ESTATE OF
17   JOSEPH SHUSTER; JEAN ADELE
     PEAVY, an individual; LAURA
18
     SIEGEL LARSON, individually and as
19   personal representative of the ESTATE
     OF JOANNE SIEGEL,
20
     and DOES 1-10, inclusive,
21
22
                     Defendants.

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                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES


                                        EXHIBIT O
                                          257
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12           Page 101 of 122
                                      Page ID #:22602




 1        Defendant Marc Toberoff (“Toberoff”), by and through his attorneys, responds
 2 as follows to the Second Set of Interrogatories dated August 3, 2011 (the

 3 “Interrogatories”) propounded by plaintiff DC Comics (“Plaintiff” or “DC”).
 4                                              I.
 5                                GENERAL OBJECTIONS
 6        Toberoff objects to the entire set of Interrogatories on each of the following
 7 grounds, and incorporates by reference each of the following objections into his
 8 response to each individual interrogatory within it:
 9        1.     Toberoff objects to the Interrogatories as they exceed the scope of Rules
10 26 and 33 of the Federal Rules of Civil Procedure or the Local Rules of the United

11 States District Court for the Central District of California. Toberoff further objects to
12 the Interrogatories as improperly exceeding the permitted number of 25 total
13 interrogatories under Federal Rule 33(a)(1). On December 10, 2010, Plaintiff served

14 25 interrogatories on Toberoff, to which Toberoff served responses on January 24,
15 2011. Plaintiff’s current set of interrogatories includes six further interrogatories.

16 Since service of more than 25 interrogatories is not permitted, the entire set of
17 interrogatories is improper.
18        2.     Toberoff objects to each individual Interrogatory to the extent it is
19 relevant only to the Fourth through Sixth state law claims for relief in DC’s First
20 Amended Complaint (“FAC”). Toberoff contends that his pending anti-SLAPP
21 motion should have stayed discovery regarding these state law claims. See Cal. Code
22 Civ. Proc. § 425.16(g); Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co.,
23 130 S. Ct. 1431, 1452 (2010) (Stevens, J., concurring); Batzel v. Smith, 333 F.3d
24 1018, 1024 (9th Cir. 2003); Godin v. Schencks, 2010 U.S. App. LEXIS 25980 (1st
25 Cir. Dec. 22, 2010).
26        3.     Toberoff objects to the Interrogatories to the extent that they purport to
27 demand information protected from disclosure by the attorney-client privilege, joint
28 interest privilege, attorney work product doctrine or any other privileges or

                                             1
                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                         EXHIBIT O
                                           258
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 102 of 122
                                     Page ID #:22603




 1 immunities provided by the rules of this Court, statute or agreement. Inadvertent
 2 disclosure of any information subject to any applicable privilege or doctrine is not

 3 intended to be and shall not operate as a waiver of any such privilege or doctrine, in
 4 whole or in part; nor is any such inadvertent disclosure intended to be, nor shall it
 5 constitute, a waiver of the right to object to any use of such information.

 6        4.     Toberoff objects to the Interrogatories to the extent that they seek
 7 information comprising or reflecting any trade secret or other confidential or
 8 proprietary information of Toberoff or any other person or entity.
 9        5.     Toberoff objects to the Interrogatories to the extent that they seek
10 information which is protected from disclosure by court order, or any privacy or

11 similar rights of any person or entity.
12        6.     Toberoff objects to the Interrogatories to the extent that they seek
13 information and/or documents already in the possession of the propounding party on

14 the grounds such interrogatories are unnecessary and unduly oppressive and
15 burdensome.

16        7.     Toberoff objects generally to the definitions of the terms “YOU” and
17 “YOUR” as vague and ambiguous, overbroad and unduly burdensome. Toberoff will
18 construe these terms to refer to Toberoff.

19        8.     Toberoff objects to the Interrogatories to the extent that they are vague
20 or indefinite with respect to the information sought, or are overbroad and unduly
21 burdensome.
22        9.     Toberoff objects to the Interrogatories to the extent that they seek
23 information which is neither relevant to the subject matter of the pending litigation
24 nor reasonably calculated to lead to the discovery of admissible evidence.
25        10.    No incidental or implied admissions are intended by Toberoff’s
26 responses to the Interrogatories. The supplying of any fact does not constitute an
27 admission by Toberoff that such fact is relevant or admissible. The fact that Toberoff
28 has responded to any interrogatory is not intended to be and shall not be construed as

                                             2
                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          259
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12            Page 103 of 122
                                     Page ID #:22604




 1 a waiver by Toberoff of all or any part of any objection to any interrogatory.
 2 Toberoff reserves until the time of trial all objections as the relevance or admissibility

 3 of any facts provided in his answers to the Interrogatories.
 4        11.    The general and specific objections set forth herein are based on
 5 information now available to Toberoff and Toberoff reserves the right to revise,

 6 correct, add, clarify or supplement the general and specific objections and responses
 7 set forth herein.
 8                                             II.
 9                       RESPONSES TO INTERROGATORIES
10        Subject to, and without waiving the General Objections and qualifications
11 above, Toberoff responds to each individual Interrogatory as follows:
12 Interrogatory No. 26
13        DESCRIBE in detail all efforts YOU have made to MARKET any rights
14 involving SUPERMAN and/or SUPERBOY.
15 Response to Interrogatory No. 26

16        As set forth in General Objection No. 1, because the entire set of
17 interrogatories is improper as exceeding the limit of 25 total interrogatories under
18 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff also

19 objects to this interrogatory on the grounds that it is overbroad, burdensome and
20 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not
21 reasonably limited in scope. Toberoff also objects to this interrogatory to the extent
22 that it seeks information that is not reasonably calculated to lead to the discovery of
23 relevant and admissible evidence. Toberoff additionally objects to this interrogatory
24 to the extent that it seeks communications or items protected by the attorney-client
25 privilege, the attorney work product doctrine and any other privilege or immunity
26 available under law or arising from contractual obligation.
27 Interrogatory No. 27
28        IDENTIFY any PERSONS with whom YOU have COMMUNICATED in

                                             3
                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          260
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 104 of 122
                                     Page ID #:22605




 1 connection with efforts to MARKET any rights involving SUPERMAN and/or
 2 SUPERBOY.

 3 Response to Interrogatory No. 27
 4        As set forth in General Objection No. 1, because the entire set of
 5 interrogatories is improper as exceeding the limit of 25 total interrogatories under

 6 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff
 7 objects to this interrogatory on the grounds that it is overbroad, burdensome and
 8 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not
 9 reasonably limited in scope. Toberoff objects to this interrogatory to the extent that it
10 seeks information that is not reasonably calculated to lead to the discovery of relevant

11 and admissible evidence. Toberoff additionally objects to this interrogatory to the
12 extent that it seeks communications or items protected by the attorney-client
13 privilege, the attorney work product doctrine and any other privilege or immunity

14 available under law or arising from contractual obligation.
15 Interrogatory No.28

16        DESCRIBE in detail when any efforts YOU have made to MARKET any
17 rights involving SUPERMAN and/or SUPERBOY took place.
18 Response to Interrogatory No. 28

19        As set forth in General Objection No. 1, because the entire set of
20 interrogatories is improper as exceeding the limit of 25 total interrogatories under
21 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff
22 objects to this interrogatory on the grounds that it is overbroad, burdensome and
23 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not
24 reasonably limited in scope. Toberoff objects to this interrogatory to the extent that it
25 seeks information that is not reasonably calculated to lead to the discovery of relevant
26 and admissible evidence. Toberoff additionally objects to this interrogatory to the
27 extent that it seeks communications or items protected by the attorney-client
28 privilege, the attorney work product doctrine and any other privilege or immunity

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                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          261
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 105 of 122
                                     Page ID #:22606




 1 available under law or arising from contractual obligation.
 2 Interrogatory No. 29

 3        DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
 4 potential INVESTORS concerning rights involving SUPERMAN and/or
 5 SUPERBOY.

 6 Response to Interrogatory No. 29
 7        As set forth in General Objection No. 1, because the entire set of
 8 interrogatories is improper as exceeding the limit of 25 total interrogatories under
 9 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff
10 objects to this interrogatory on the grounds that it is overbroad, burdensome and

11 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not
12 reasonably limited in scope. Toberoff objects to this interrogatory to the extent that it
13 seeks information that is not reasonably calculated to lead to the discovery of relevant

14 and admissible evidence. Toberoff additionally objects to this interrogatory to the
15 extent that it seeks communications or items protected by the attorney-client

16 privilege, the attorney work product doctrine and any other privilege or immunity
17 available under law or arising from contractual obligation.
18 Interrogatory No. 30

19        IDENTIFY any PERSON with whom YOU have COMMUNICATED
20 concerning actual and/or potential INVESTORS in rights involving SUPERMAN
21 and/or SUPERBOY.
22 Response to Interrogatory No. 30
23        As set forth in General Objection No. 1, because the entire set of
24 interrogatories is improper as exceeding the limit of 25 total interrogatories under
25 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff
26 objects to this interrogatory on the grounds that it is overbroad, burdensome and
27 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not
28 reasonably limited in scope. Toberoff objects to this interrogatory to the extent that it

                                             5
                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          262
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 106 of 122
                                     Page ID #:22607




 1 seeks information that is not reasonably calculated to lead to the discovery of relevant
 2 and admissible evidence. Toberoff additionally objects to this interrogatory to the

 3 extent that it seeks communications or items protected by the attorney-client
 4 privilege, the attorney work product doctrine and any other privilege or immunity
 5 available under law or arising from contractual obligation.

 6 Interrogatory No. 31
 7        DESCRIBE in detail when YOU have COMMUNICATED with actual or
 8 potential INVESTORS concerning rights involving SUPERMAN and/or
 9 SUPERBOY.
10 Response to Interrogatory No. 31

11        As set forth in General Objection No. 1, because the entire set of
12 interrogatories is improper as exceeding the limit of 25 total interrogatories under
13 Federal Rule 33(a)(1), Toberoff will not respond to this interrogatory. Toberoff

14 objects to this interrogatory on the grounds that it is overbroad, burdensome and
15 oppressive. Toberoff further objects to this interrogatory on the grounds that it is not

16 reasonably limited in scope. Toberoff objects to this interrogatory to the extent that it
17 seeks information that is not reasonably calculated to lead to the discovery of relevant
18 and admissible evidence. Toberoff additionally objects to this interrogatory to the

19 extent that it seeks communications or items protected by the attorney-client
20 privilege, the attorney work product doctrine and any other privilege or immunity
21 available under law or arising from contractual obligation.
22
     Dated: September 6, 2011                 KENDALL BRILL & KLIEGER LLP
23
24
                                       By:    /s/
                                              Nicholas F. Daum
25                                            Attorneys for Defendants Marc Toberoff,
26                                            Pacific Pictures Corporation, IP Worldwide,
                                              LLC, and IPW, LLC
27
28

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                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          263
Case 2:10-cv-03633-ODW-RZ           Document 357-4 Filed 01/03/12           Page 107 of 122
                                     Page ID #:22608




 1
                                      VERIFICATION

 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3     I have read the foregoing DEFENDANT MARC TOBEROFF’S
 4
   RESPONSE TO PLAINTIFF DC COMICS’ SECOND SET OF
   INTERROGATORIES and know its contents.
 5
          I am a party to this action. The matters stated in the foregoing document are
 6
   true of my own knowledge except as to those matters which are stated on information
 7 and belief, and as to those matters I believe them to be true.
 8        Executed on September 6, 2011, at Los Angeles, California.
 9
          I declare under penalty of perjury under the laws of the State of California that
10 the foregoing is true and correct.

11
12  Marc M. Toberoff
13 Print Name of Signatory                          Signature

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                                             7
                           DEFENDANT MARC TOBEROFF’S RESPONSE
                       TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

                                        EXHIBIT O
                                          264
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 108 of 122
                             Page ID #:22609




                EXHIBIT P
Case 2:10-cv-03633-ODW-RZ            Document 357-4 Filed 01/03/12             Page 109 of 122
                                      Page ID #:22610




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NEW YORK




                                                                                     OUR FILE NUMBER
September 16, 2011                                                                        905900-321

VIA E-MAIL                                                                        WRITER’S DIRECT DIAL
                                                                                       (310) 246-6850
Marc Toberoff
                                                                               WRITER’S E-MAIL ADDRESS
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                                                                                jtokoro@omm.com
2049 Century Park East, Suite 3630
Los Angeles, California 90067

Richard Kendall
Kendall Brill & Klieger LLP
10110 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

                Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

      We write to address the September 6, 2011, interrogatory responses by defendant Marc
Toberoff, and defendants Mark Warren Peary and Jean Adele Peavy’s responses to DC’s
document requests.

Defendant Toberoff’s Interrogatory Responses

        We are troubled by your tactical decision to wait 30 days to respond to DC’s
interrogatories only to state that defendants will not provide any substantive answer because
DC’s requests “exceed[] the limit of 25 total interrogatories under Federal Rule 33(a)(1).”
Defendants’ choice was clearly intended only to cause delay.

        Having refused to answer our questions about his communications with actual or
potential investors during our June 13 meet-and-confer, Mr. Toberoff advised DC to serve
interrogatories on the subject. We served the requested interrogatories on August 3 and asked
you to “confirm immediately that you will respond to these simple interrogatories by the date
listed.” Mr. Toberoff’s associate, Keith Adams, sent a response letter on August 10 and wrote
that Mr. Toberoff “will respond/object to the interrogatories pursuant to and consistent with the
federal rules.” Mr. Adams did not say that Mr. Toberoff would not substantively respond to the
interrogatories, or that defendants would refuse to answer on grounds that the interrogatories
exceeded the number allowed by the Federal Rules.



                                          EXHIBIT P
                                            265
Case 2:10-cv-03633-ODW-RZ             Document 357-4 Filed 01/03/12             Page 110 of 122
                                       Page ID #:22611


September 16, 2011 - Page 2



        We sought to clarify Mr. Adams’ statement and sent an email the same day asking
whether Mr. Toberoff would “respond to [the interrogatories] in substance, or do we need to seek
leave to ask these additional interrogatories?” We stated that “[i]f it’s the latter, we request a
Rule 37 conference.” Mr. Adams responded by writing, “Mr. Toberoff will respond/object to
DC’s interrogatories within the time period provided by the Rules.” He did not say that DC
needed to seek leave to ask these additional interrogatories, nor did he respond to our request for
a Rule 37 conference by providing us with times when he was available to meet. To be certain
of defendants’ position, we wrote back to Mr. Adams and asked him to answer two simple
questions: “[(1)] Are you accepting service of the interrogatories? [(2)] Will Mr. Toberoff
respond to them in substance or object on numerosity grounds?” We stated that “[i]f [Mr.
Toberoff] objects on numerosity grounds, we will seek leave to ask these additional
interrogatories, and request a Rule 37 conference to do so.” Defendants never responded and
instead waited until September 6 to object to DC’s interrogatories on numerosity grounds.

        Defendants’ refusal to substantively respond to DC’s interrogatories is even more
disconcerting given their position that the depositions of Marc Toberoff, Pacific Pictures
Corporation, IP Worldwide, LLC, and IPW, LLC, are limited to examination of Mr. Toberoff for
one day of seven hours. DC had hoped to streamline parts of the examination by receiving
answers to its interrogatories, but will now be forced to go through these topics with Mr.
Toberoff in full and, of course, spend other days and hours examining the companies on their
activities.

       Please let us know if you are willing to withdraw your objections and substantively
respond to DC’s interrogatories by Wednesday, September 21. If not, please let us know when
you are available next week to meet and confer to discuss these issues.

Defendants Peary and Peavy’s Document Production Responses and Objections

        Not a single document was produced to DC by Peary or Peavy with their September 6,
2011, responses to DC’s second set of requests for production of documents. Nor did either
defendant provide DC with an updated privilege log identifying withheld documents.
Defendants continue to ignore their discovery obligations causing unnecessary delay and
requiring DC on multiple occasions to seek the Court’s assistance. They do so, even though key
depositions are scheduled for the coming weeks.

       1. Privilege Logs. You stated in recent correspondence that defendants “anticipate”
updating their privilege logs “this month,” but have not provided a date certain when DC will
receive the updated logs, what materials are being logged, or whether we will have these logs in
advance of September 27, when depositions again begin. Please confirm whether documents
withheld by Peary and Peavy in response to DC’s document requests will be included in the
updated logs.

        2. Boilerplate Objections. Peary and Peavy assert many of the same boilerplate
objections they chose not to defend in entering into the parties’ December 7, 2010, stipulated
order. Docket No. 133. DC has shown that these non-specific objections are “inadequate and



                                          EXHIBIT P
                                            266
Case 2:10-cv-03633-ODW-RZ             Document 357-4 Filed 01/03/12             Page 111 of 122
                                       Page ID #:22612


September 16, 2011 - Page 3



tantamount to not making any objection at all.” E.g., Walker v. Lakewood Condo. Owners
Ass’n., 186 F.R.D. 584, 587 (C.D. Cal. 1999); see Docket No. 205 at 25-29. None of these
objections has merit; all are asserted to obstruct and delay. Please confirm that defendants will
withdraw these objections.

        2. Peavy Will and Trust (Request Nos. 23-25). Defendants respond to each of these
requests that they “will produce the responsive, non-privileged documents, if any, consistent
with [their] understanding of th[e] request.” No documents were produced with defendants’
September 6 responses, and even now, 10 days later, DC has not received a single responsive
document. Nor have defendants provided a date certain when they will produce these
documents. There is no basis for defendants not to have produced these documents with their
responses.

        We have addressed your confidentiality concerns and offered to treat the Peavy will/trust
and all related documents produced for the first time in this case as “CONFIDENTIAL” pursuant
to the protective order in the Siegel case. Please confirm that defendants will produce all
responsive documents by no later than Friday, September 23.

        3. Communications with Catron, Sim, and Salkind (Request Nos. 26-28). Defendants
state they “will meet-and-confer with [DC] regarding narrowing the scope of [these] request[s],”
but do not propose any ways to narrow them. It is defendants’ obligation to identify specifically
what they believe is objectionable about each request so that DC can meaningfully respond
during the parties’ meet-and-confer efforts, and defendants failed to meet that obligation.

        Defendants’ stated objections, moreover, are without merit. There is no indication that
the communications sought by DC are numerous or that defendants are not readily in possession
of the documents. There is no basis to assert privilege over communications with these non-
lawyer, third parties. And the relevance of the communications is apparent:

        x   Catron: Catron was originally identified as the administrator of the Estate of Joseph
            Shuster, but was replaced by Peary when the estate was probated in 2003. Peary Tr.
            at 214:16-216:4. DC is entitled to discover why Catron was removed, including why
            he was selected as administrator of the estate, whose idea it was to remove him, and
            whether and how he was notified. Catron also communicated with DC as the
            “representative of Jean Shuster Peavy.” Ex. 67 (Feb. 23, 2006 Catron Email to
            Levitz). DC is permitted to discover the extent of the relationship between Catron
            and the Shusters.

        x   Sim: Peary and Dawn Peavy testified that they are familiar with Sim and have met
            him on at least one occasion. Peary Tr. at 27:4-30:15; D. Peavy Tr. at 17:20-23:1.
            And DC is aware of at least two letters from the Shusters to Sim. See Exs. 24, 66.
            The letters discuss the Shusters’ treatment by DC, including their attendance at the
            premiere of “Superman Returns,” and the screenplay written by Peary about the lives
            of Joseph Shuster and Jerry Siegel. DC is entitled to discover the complete
            correspondence.



                                          EXHIBIT P
                                            267
Case 2:10-cv-03633-ODW-RZ             Document 357-4 Filed 01/03/12           Page 112 of 122
                                       Page ID #:22613


September 16, 2011 - Page 4



        x   Salkind: Peary confirmed that he optioned to Illya Salkind his screenplay about the
            lives of Joseph Shuster and Jerry Siegel. Peary Tr. at 20:11-24. The relevance of
            these screenplays is discussed below, and the relevance of Peary seeking to market
            Superman-related rights is obvious. DC is entitled to discover the correspondence
            between Salkind and the Shusters concerning Peary’s screenplay, including Salkind’s
            efforts to license, market, or otherwise exploit the screenplay.

        4. Screenplays / Joseph Shuster File (Request Nos. 29-35). DC urges defendants to
produce the requested screenplays and related documents as there is no basis for these documents
to be withheld. There can be no dispute that these documents are relevant to DC’s claims in this
case and defendants' defenses. The screenplays, as described by Peary, revolve around the lives
of Joseph Shuster and Jerry Siegel, including the creation and development of Superman. E.g.,
Peary Tr. 18:23-21:10. We understand that, in these screenplays, DC and Warner Bros. are
depicted as laudable good companies that came to the aid of Shuster and Siegel in the later years
of their lives. This depiction, which Peary authored, directly contradicts your arguments in
briefing in this case, as well as Peary's testimony, that Mr. Shuster or his family still felt
aggrieved by DC or Warner Bros. in the later years of Mr. Shuster's life. DC is entitled to
discover the screenplays and the related documents on which Mr. Peary based them.

        5. Dawn Peavy Documents (Request No. 37). To our knowledge, defendants have never
produced a single document or communication from Dawn Peavy; not in this case and not in the
Siegel cases. Nor have any communications involving Dawn been logged. Is it defendants’
position that no responsive documents involving Dawn exist? She mentioned at her deposition
having discussions about Superman with at least one co-worker.

        6. Peary Records (Request No. 38). It cannot be disputed that DC is entitled to discover
all documents in the Shusters’ possession, custody, or control relating to Superman, Superboy,
the Siegels, Joseph Shuster, Jerome Siegel, Warner Bros., and DC. DC’s requests seek the
production of just those types of documents, limited to the files maintained by Peary as he
described them at his deposition. Peary Tr. 40:9-14, 50:24-52:7. Peary knows exactly where
these documents are located and there is no indication that non-responsive documents are kept in
the same location. These documents need to be produced.

        Please confirm that defendants will withdraw all objections and produce (redacted if need
be) or log all responsive documents by Friday, September 23. If not, please let us know when
you are available next week to meet and confer, pursuant to Rule 37, to address these issues.

        All of DC’s rights are reserved.

                                                Very truly yours,


                                                Daniel M. Petrocelli
                                                of O’MELVENY & MYERS LLP
cc:     Matthew T. Kline, Esq.



                                           EXHIBIT P
                                             268
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 113 of 122
                             Page ID #:22614




                EXHIBIT Q
            Case 2:10-cv-03633-ODW-RZ             Document 357-4 Filed 01/03/12            Page 114 of 122
                                                   Page ID #:22615

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            September 22, 2011

            Via E-Mail

            Daniel Petrocelli
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dan:

            I write in response to your September 16, 2011 letter regarding Mr. Toberoff’s responses to DC’s
            interrogatories and Mr. Peary and Ms. Peavy’s discovery responses and document production.

            Mr. Toberoff’s Interrogatory Responses: As set forth in my August 10, 2011 letter, “[a]s to
            DC’s second set of interrogatories to Mr. Toberoff, he will respond/object to the interrogatories
            pursuant to and consistent with the Federal Rules of Civil Procedure.”

            Pursuant to F.R.C.P. 30(a)(1), DC is limited to twenty-five interrogatories of Mr. Toberoff
            “[u]nless otherwise stipulated or ordered by the court.” DC made a clear strategic decision to
            use all twenty-five of its interrogatories to Mr. Toberoff on a single subject in its first set of
            interrogatories. DC’s second set of interrogatories was nothing more than an attempt to dodge
            the consequences of that decision. There was plainly no stipulation or order pursuant to F.R.C.P.
            30(a)(1) that permitted DC to serve additional interrogatories on Mr. Toberoff.

            DC’s suggestion that at a meet-and-confer on June 13 Mr. Toberoff somehow “advised” that DC
            serve the interrogatories is self-serving and unfounded. Mr. Toberoff simply stated that DC’s
            tactic of consistently using meet-and-confers to cross-examine and take discovery was improper
            and that interrogatories were more appropriate.

            DC now complains that defendants “did not say that Mr. Toberoff would not substantively
            respond to the interrogatories, or that defendants would refuse to answer on the grounds that the
            interrogatories exceeded the number allowed by the Federal Rules.” DC is obviously aware of
            the Federal Rules, and defendants repeatedly stated that Mr. Toberoff would “object/respond” to
            the interrogatories pursuant to the Rules. DC did not miss defendants’ meaning, and responded




                                                      EXHIBIT Q
                                                        269
Case 2:10-cv-03633-ODW-RZ Document 357-4 Filed 01/03/12                           Page 115 of 122
                            Page ID #:22616
TOBEROFF & ASSOCIATES, P.C.

September 22, 2011
Re:   DC Comics v. Pacific Pictures Corp.
Page: 2 of 3

by requesting that defendants confirm that Mr. Toberoff would “substantively respond” to the
interrogatories, to which we did not agree.

DC requests that the parties meet-and-confer, but defendants do not understand DC’s basis for a
meet-and-confer. Does DC seek to move to compel responses to the interrogatories, or does DC
seek leave of the Court to propound additional interrogatories?

The issue would also appear to be moot in light of Mr. Toberoff’s imminent deposition
scheduled for September 27, 2011.

Lastly, defendants reject DC’s assumption that it will have “days and hours” to question Mr.
Toberoff beyond his initial deposition on September 27.

Peary/Peavy Document Production: Mr. Peary’s and Ms. Peavy’s non-confidential documents
responsive to DC’s requests will be produced this week. As stated, Ms. Peavy will produce her
confidential documents such as her will (though it is hardly relevant to DC’s claims) once the
parties have a protective order in place in this action. We will shortly address DC’s counter-draft
of our proposed protective order in separate correspondence.

Privilege Logs: As stated in my September 6, 2011 letter, defendants anticipate that they will
update their privilege logs this month.

Purported Boilerplate Objections: DC has never “shown [that] these non-specific objections are
‘inadequate.’” In fact, Magistrate Zarefsky rejected DC’s identical argument in DC’s motion to
compel that sought to overrule defendants’ supposedly “boilerplate” objections. Docket No.
262. The Court has never ruled on this issue in DC’s favor. Just because Mr. Peary and Ms.
Peavy stipulated on December 6, 2010 to withdraw many of their objections to DC’s prior
discovery requests does not mean that they cannot fully object to DC’s subsequent requests.

Communications with Catron, Sim and Salkind: These requests are all grossly overbroad, and
seek “all communications” whatsoever with these individuals at any time and are in no way
limited to issues relevant to DC’s claims, or even Superman.

Defendants specifically objected to the requests on these grounds: “[Defendant] also objects to
this request on the grounds that it is compound, overbroad, burdensome and oppressive, as it
seeks all communications with [the individual] regardless whether the communications are
related to the litigation at issue or are likely to lead to the discovery of admissible evidence.” See
Peary Response Nos. 26-28; Peavy Response Nos. 26-28.

DC’s assumptions that ordinary individuals keep all copies of every piece of correspondence –
especially when DC’s requests, as written, plainly seek correspondence from the 1990’s and
earlier – are also unfounded.




                                           EXHIBIT Q
                                             270
Case 2:10-cv-03633-ODW-RZ Document 357-4 Filed 01/03/12                         Page 116 of 122
                            Page ID #:22617
TOBEROFF & ASSOCIATES, P.C.

September 22, 2011
Re:   DC Comics v. Pacific Pictures Corp.
Page: 3 of 3

Screenplays: As defendants understand it, DC’s theory of relevance is that Mr. Peary may have
depicted DC as a “laudable” company in his fictional screenplay, and that this would somehow
“directly contradict” Mr. Peary’s testimony that the Shuster family felt aggrieved by DC.
The argument makes little sense and does more to underscore the irrelevance of Mr. Peary’s
screenplay to this case than to support it.

Dawn Peavy Documents: DC’s continued focus on Dawn Peavy is difficult to understand.
Defendants informed DC long ago, and Dawn Peavy testified at her deposition, that she knows
virtually nothing about this case or any relevant issue. The most that DC can point to is that she
“mentioned at her deposition having discussions about Superman with at least one co-worker.”
Unsurprisingly, there is no responsive correspondence between Dawn and Jean and/or Mr. Peary
to produce or log.

Peary Records: Defendants dispute DC’s claim that it is entitled to every document in
defendants’ possession related in any way to Superman or to Joseph Shuster. DC is certainly not
entitled to every document somehow “related” to defendants’ brother/uncle. Nonetheless,
defendants produce herewith the “Shuster File,” as maintained by Mr. Peary.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,


Keith Adams




                                          EXHIBIT Q
                                            271
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 117 of 122
                             Page ID #:22618




                EXHIBIT R
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 118 of 122
                             Page ID #:22619




                                                                      LSL 00482

                               EXHIBIT R
                                 272
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 119 of 122
                             Page ID #:22620




                                                                      LSL 00483

                               EXHIBIT R
                                 273
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 120 of 122
                             Page ID #:22621




                                                                      LSL 00484

                               EXHIBIT R
                                 274
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 121 of 122
                             Page ID #:22622




                                                                      LSL 00485

                               EXHIBIT R
                                 275
Case 2:10-cv-03633-ODW-RZ   Document 357-4 Filed 01/03/12   Page 122 of 122
                             Page ID #:22623




                                                                      LSL 00486

                               EXHIBIT R
                                 276
